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                Appendix 4
Supplemental Declaration of Jennifer Keough,
      JND Legal Administration, LLC


In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)



     Plaintiffs’ Motion for Final Approval of Settlement
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


    IN RE: EQUIFAX INC. CUSTOMER           Case No. 1:17-md-2800-TWT
    DATA SECURITY BREACH
    LITIGATION                             CONSUMER ACTIONS


                                           DECLARATION OF
                                           JENNIFER M. KEOUGH
                                           REGARDING IMPLEMENTATION
                                           OF SETTLEMENT
                                           ADMINISTRATION PROGRAM



I, JENNIFER M. KEOUGH, declare as follows:

                           I.    INTRODUCTION

       1.    I am the Chief Executive Officer (“CEO”) of JND Legal

Administration LLC (“JND”).      The Court appointed JND as the Settlement

Administrator 1 in its Order Directing Notice, dated July 22, 2019 (“Order”), to

perform the duties set forth in the Settlement Agreement and Release (“Settlement

Agreement”) in the above-captioned action (the “Action”). This Declaration is

based on my personal knowledge, as well as upon information provided to me by

experienced JND employees and counsel for the Plaintiffs and Defendants



1
 Capitalized terms used and not otherwise defined herein shall have the meanings
given such terms in the Settlement Agreement and Release.

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(“Counsel”) in the Action, and if called upon to do so, I could and would testify

competently thereto.

      2.     I have more than 20 years of legal experience creating and supervising

claims administration programs and have personally overseen well over 500 matters.

Some of the larger matters I have handled in my career include the administration of

the $20 billion Gulf Coast Claims Facility, the $10 billion Deepwater Horizon BP

Settlement, and the $3.4 billion Cobell Indian Trust, which was the largest

government class action in U.S history.

      3.     JND is a leading legal administration services provider with

headquarters located in Seattle, Washington, and other offices throughout the

Country. JND has extensive experience with all aspects of legal administration and

has administered hundreds of class action settlements. As the CEO, I am involved

in all facets of JND’s operations, including but not limited to, overseeing and

monitoring our settlement administration programs. I previously filed a declaration

with the Court entitled, Declaration of Jennifer M. Keough Regarding Proposed

Administration Program, dated July 21, 2019, Docket No. 739-6 (“First JMK

Declaration”), in which I described my experience and that of JND in much greater

detail, as well as the proposed settlement administration program here. I respectfully

submit this Declaration to report on the actual implementation of the administration

program through December 1, 2019.


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     4.    In the First JMK Declaration, I outlined the responsibilities of the

Settlement Administrator as they were detailed in the Settlement Agreement. In

summary, JND was tasked with the following:

      •     Planning, designing, implementing, testing, deploying and maintaining
            a secure case-specific website in English and Spanish with online filing
            capabilities and the ability to check claim status;

      •     Establishing and maintaining a toll-free telephone number staffed with
            over 100 skilled customer service representatives and a 24/7 Interactive
            Voice Recording (“IVR”) system;

      •     Developing call scripts and claims protocols to provide support for
            Settlement Class Members;

      •     Establishing and maintaining a post office box to communicate with
            Settlement Class Members via written correspondence;

      •     Providing direct email notice to Settlement Class Members;

      •     Printing and mailing Settlement related documentation to Settlement
            Class Members;

      •     Responding to Settlement Class Members’ inquiries via U.S. mail,
            electronic mail and telephone;

      •     Reviewing, processing and determining the validity of claims
            submitted by Settlement Class Members;

      •     Reviewing necessary documentation to determine compliance with
            different claim category requirements;

      •     Developing protocols for deficiencies and working with Settlement
            Class Members to cure deficiencies;

      •     Reviewing and processing exclusion requests;

      •     Reviewing and processing objections to the Settlement;

      •     Preparing and providing customized reports to Counsel;

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      •      Participating in weekly/biweekly regulator stakeholder calls;

      •      Administering and overseeing the distribution of the Consumer
             Restitution Fund;

      •      Calculating, processing and transmitting individual distribution
             benefits to Settlement Class Members;

      •      Researching and reissuing undelivered distributions;

      •      Designing and establishing a secure case-specific database to house and
             track all noticing efforts, telephone calls, email communications,
             claims materials, deficiencies, outreach, and distribution payments;

      •      Building secure mechanisms for data transfers;

      •      Preparing and disseminating weekly reports to Counsel;

      •      Performing supplemental functions and tasks requested by Counsel on
             an as-needed basis; and

      •      Working and coordinating with various third parties, including the
             Notice Provider, TransUnion and Experian to ensure a smooth
             administration of the Settlement.

      5.     In actuality, the breadth of the administration program in this Action to

date has been unlike any other matter in the history of class action administration.

As discussed in further detail below, as of the date of this Declaration, JND has

received over 15 million claims from Settlement Class Members representing over

10% of the class2 and over 130 million visits to the Settlement Website. We are not

aware of another class action settlement receiving such a large number of claims or


2
  JND is currently in the process of reviewing and evaluating all claims submitted in
the Action in accordance with the Settlement Agreement and Claims Administration
Protocol.

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traffic to a settlement website. The efforts and tasks required by JND to handle the

massive volume of claims received, as well as correspondence, and accompanying

interest in the Settlement, are discussed in detail below.

II.    PREPARATION FOR LAUNCH OF ADMINISTRATION PROGRAM

       6.    Based on the high-profile nature of the Action, the Parties and JND

expected significant interest from Settlement Class Members once the preliminary

approval motion and accompanying papers were filed on July 22, 2019. As a result,

my team and I began working very closely with the Parties and Counsel following

JND’s retention in late May 2019 to ensure, among other things, that JND was ready

to go live in the event the Court preliminarily approved the Settlement on July 22,

2019 (“Preliminary Approval Date”).

       A.    Development of Scripts and Protocols

       7.    After reviewing and providing feedback on relevant Settlement related

material, including but not limited to the notice forms, claim form and claims

administration protocol, JND began developing comprehensive email, call center

and IVR scripts to provide support to Settlement Class Members when they reached

out to JND regarding the Settlement. The scripts were designed to answer

frequently-asked-questions by Settlement Class Members. Additionally, JND began

developing its internal claims processing protocols, which were designed

specifically to address matters related to the Settlement.


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      8.    To ensure our staff received proper and thorough training on the scripts

and applicable protocols, JND finalized the documentation, in consultation with

Counsel, in early July 2019, which allowed us to train our staff throughout the

majority of July in advance of the Preliminary Approval Date.

      B.    Call Center Preparation

      9.    JND takes a data-driven approach to call center capacity planning based

on forecasted and historical call volume, project characteristics, and notice medium

for each project. In this Action, in order to accommodate the massive forecasted

call volume, JND worked closely with its call center technology and telephony

services provider to thoroughly define the project scope and required technology

changes to support a project of this magnitude. JND and its service provider

determined that, due to the size of the Settlement Class, it would be prudent to

implement a dedicated call handling infrastructure to insulate against any possible

disruption. This isolated environment was built upon the existing known, tried and

true technology used daily by JND for all projects where call handling and quality

are of paramount importance and was designed to handle in excess of 5,000

concurrent calls with the ability to expand that capacity on demand.

      10.   Thereafter, in concert with its service provider, JND conducted in-

depth load testing through a combination of automated and manual methods. The

load testing was completed in mid-July to ensure the launch was successful.


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      11.    Additionally, a business continuity plan specific to the Settlement was

devised to ensure that additional telephony resources could be added in real time if

demand necessitated, and custom dashboards and automated reporting tools were

created to ensure the JND executive and management teams were apprised of call

activity in real-time. Further, robust workforce intelligence tools were developed

and deployed to immediately alert call center management of any anomalies and

automatically deploy “fixes” if and when needed.

      C.     Staff Training

      12.    JND provided classroom training to over 150 contact center agents,

project managers, and other staff members. Employees were trained on JND’s

policies, processes, and procedures, related to its systems, customer service, and

project information specific to the Settlement. The training was delivered in phases

and culminated with written tests at the conclusion of each phase. Staff members

were required to pass each written test with a minimum of 90% prior to moving into

the next phase of training.

      13.    Following classroom training, call center representatives underwent

live training, utilizing practice calls that put agents in both routine and difficult real-

world scenarios developed by contact center management and JND executives. The

same training was conducted for agents responding to emails utilizing “mock”




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responses. Training scenarios and questions came directly from phone and email

scripts developed specifically for the Settlement.

      14.    Additionally, contact center management conducted “spot checks” of

live training calls and were able to immediately provide feedback to agents.

      D.     Development of the Settlement Website

      15.    In addition to our employees being adequately equipped and prepared,

it was vital that the Settlement Website be ready to go live if the Court preliminarily

approved the Settlement on the Preliminary Approval Date, and that it be able to

withstand the amount of expected traffic and do so in a secure manner. As discussed

in further detail below, the Settlement Website had a number of interactive features,

including online claim filing capabilities, and as such, was designed to ensure the

protection of its confidentiality, integrity and availability.

      16.    The Settlement Website utilized a secure cloud platform to allow for

the greatest scalability, reliability and resiliency. To achieve this, the Settlement

Website was programmed to deploy to multiple geographic areas and configured to

direct each user to the nearest geographic location hosting the Settlement Website.

Deploying to multiple areas guarantees that there would be no single point of failure

and provides the highest level of availability and performance. Should any region

reach a utilization above a predetermined threshold, new users accessing the

Settlement Website would be automatically routed to other regions. Additionally,


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should any region experience a service affecting event, or undergo maintenance,

traffic would be routed automatically to other regions.

      17.    Prior to launching, the Settlement Website was also load tested under a

variety of simulations to determine, among other things, the site’s performance when

hundreds of thousands of users accessed it concurrently. The load testing was

performed by simulating simultaneous users in specific regions and by distributing

a much larger load across multiple geographic regions. The load tests were run using

multiple tools to ensure the accuracy of results and increase carrier, route and region

diversity. We worked with JND’s secure cloud provider and our load testing

software service providers to design scenarios that accurately simulated a percentage

of total users against an equivalent percentage of the total pre-defined available

server resources. From these tests, JND extrapolated the projected concurrent user

load capacity. By way of example, from load testing 100,000 simulated concurrent

users for an extended time on a 1% of the resources, we were able to project that 10

million concurrent users could be supported before additional resources were

needed. JND executed these load tests and refined the application and resource

allocation dozens of times in advance of the launch of the Settlement Website to

ensure its stability, scalability and robustness.

      18.    In addition to performing development in accordance with industry

standard secure coding practices, JND retained a reputable, independent, third party


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to conduct penetration testing of the Settlement Website. JND maintains multiple

environments, including development, test, and production to support segregation of

duties, principle of least privilege, and a formal development lifecycle. Prior to the

launch of the Settlement Website, penetration testing was performed on a version of

the Settlement Website hosted in the test environment, using a variety of automated

tools in combination with manual testing in which certified penetration testers

attempted to infiltrate or compromise the site. At the completion of testing, JND

received the results and an opportunity to implement corrective actions, should any

have been needed, before a second, and final, testing period took place.

      19.    Only upon the successful completion of testing was the Settlement

Website deployed to its production environment. Penetration testing, performed in

the same manner, was also subsequently conducted for any modifications to the

Settlement Website’s code or functionality, and done so in the test environment,

prior to deployment of said modification(s) to the production environment.

      20.    JND also periodically performed penetration testing of the live

production site. All testing of the live production site was performed safely to

protect the confidentiality and availability of the Settlement Website, and its data,

and JND remained in contact with the testers throughout the testing period. JND

will continue to perform periodical testing, which adheres to this rigorous process.




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      E.      Creation of Settlement-Specific Database

      21.     JND created a settlement specific, secure claims processing database to

maintain, organize and track all aspects of claim intake, processing and management

in the administration of the Settlement. The database readily stores all data related

to the Settlement, including claim images, supporting documentation, call notes,

claimant correspondence, deficiencies, outreach and payments. It was customized

to capture all claim data, enable accurate and timely reporting, claims analysis and

claims determinations. JND configured the database to ensure it was scalable to

meet the forecasted volume of claims, correspondence and communication, and

ensured the processes were thoroughly tested and any potential issues were

remediated in advance of the Preliminary Approval Date.

           III.   LAUNCH OF THE ADMINISTRATION PROGRAM

      22.     On July 22, 2019, the Court preliminarily approved the Settlement and,

among other things, appointed JND as the Settlement Administrator in the Action.

JND immediately undertook the administration tasks required to implement the

Settlement in accordance with the Settlement Agreement and the Order.

      A.      Settlement Website

      23.     In accordance with the Settlement Agreement, upon Counsel’s filing

of the Motion for Preliminary Approval, JND launched a static version of the

Settlement Website, www.EquifaxBreachSettlement.com, which consisted of a


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“landing page” indicating that the Settlement Website will be updated upon entry of

the Order. One day later, on July 23, 2019, JND updated the Settlement Website to

include information and material about the Settlement, including a Home Page, and

separate pages for Key Dates, FAQs and Important Documents, including the Court-

ordered Settlement Notice.     The Key Dates page informed Settlement Class

Members of key dates and deadlines relative to the Settlement. The FAQs page

provided concise answers to frequently asked questions in a searchable and

organized manner. And, the Important Documents page contained downloadable

Settlement related documents, including the Court-ordered Settlement Notice.

      24.    The following day, on July 24, 2019, JND added a number of

interactive features to the Settlement Website in accordance with the Settlement and

based upon requests from state and government regulators by agreement of Counsel,

which permitted Settlement Class Members to submit claims electronically, check

the status of their claims, upload documents to support their claims, and contact JND

via a secure contact form. The Settlement Website, which is available in English

and Spanish, was designed to be informational and interactive, and was formatted

for ease of navigation. It provides, among other things, detailed information about

Settlement Class Members’ legal rights and options under the Settlement, and it

describes the information and documentation that consumers were required to




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submit in connection with their claims, including instructions for providing such

information and documentation.

      25.   Additionally, the Settlement Website is ADA compliant and is

optimized for mobile visitors so that information loaded quickly on mobile devices

and is also designed to maximize search engine optimization through Google and

other search engines. Keywords and natural language search terms were included

in the Settlement Website’s metadata to maximize search engine rankings in order

to best assist Settlement Class Members seeking information about the Settlement.

      26.   Visitors to the Settlement Website have and will continue to have until

the end of the Extended Claims Period, the ability to download the Settlement

Notice, Claim Form, Minor Claim Form, Consolidated Consumer Class Action

Complaint, and all relevant court documents. All the documents available for

download from the Settlement Website (save for some briefs filed by Counsel) have

been translated into the following languages: Spanish, French, Arabic, Korean,

Chinese, Tagalog and Vietnamese.

      27.   A key interactive feature of the Settlement Website is a tool developed

by Equifax known as the “Look Up Tool.” The tool permits individuals to find out

whether their information was impacted by the Data Breach so they can determine

whether or not they are Settlement Class Members.




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      28.   JND built a front-end application as part of the Settlement Website for

the “Look Up Tool.” The front-end application allows users enter to their last name

and a partial SSN into the Settlement Website, and once submitted, the Settlement

Website communicates to an application program interface (API) built and hosted

by Equifax, securely passing the user’s last name and partial SSN to the Equifax

API. The Equifax API then returns an indicator to JND informing whether the

person was impacted by the Data Breach.

      29.   JND worked closely with IT personnel at Equifax and Counsel for the

Parties to integrate this functionality with the API, which included manual testing

and high-volume load testing. JND additionally coordinated with Equifax IT

personnel when running high volumes of simulated user simultaneously against this

portion of the Settlement Website to determine user thresholds of both the front end

and API.

      30.   As mentioned above, JND periodically conducts penetration testing of

the Settlement Website. Additionally, JND performs, no less than monthly, security

scans using various web application scanning tools. The results are reviewed by

Information Technology and Information Security staff, who, if necessary, will

develop and schedule a plan of action.

      31.   For extra protection and to minimize the potential spoofing and creation

of fraudulent websites, JND and Class Counsel purchased over 100 domain names


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similar to www.EquifaxBreachSettlement.com. All of the purchased domain names

are redirected to the official Settlement Website. Additionally, JND on a regular

basis, searches for domains potentially related to the Settlement Website by using

unique search terms and we receive daily reports of suspicious domain names, which

are immediately reviewed. After each initial review, each site is added to a watchlist,

which as of the date of this Declaration, contains over 1,000 domains. Additionally,

JND reviews the sites on the watchlist, at least weekly, for indicators of fraud,

suspected phishing or malicious material.

      32.    As discussed above, the scale of Settlement Class Member and media

interest in this Action, has generated an unprecedented response to the Settlement

Website. As of December 1, 2019, there have been a total of 130,566,316 visits to

the Settlement Website. Of the total visits to the Settlement Website, there have

been a total number of 39,551,961 unique visits to the Settlement Website. As noted,

the Settlement Website’s traffic was extraordinary. JND tracked the Settlement

Website’s activity on a daily basis and provided daily Settlement Website statistics

to Counsel reporting on the following: Total Visits, Total Unique Visits, Average

Session Visit, Users by Device Category, Users by Country, Users by Pages, and

Top 20 Sources.

      33.    JND has periodically updated the Settlement Website since the Court

granted preliminary approval on July 22, 2019 to keep Settlement Class Members


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apprised of developments, and deadlines as they pass, and will continue to do so, at

Counsel’s request, throughout the Settlement administration process.

      B.    Settlement Email Address

      34.   On the Preliminary Approval Date, JND launched a dedicated email

address, info@EquifaxBreachSettlement.com (“Settlement Email Address”), that

permits Settlement Class Members and other individuals to submit email inquiries

related to the Settlement. JND’s trained call center agents are responsible for

monitoring and responding to emails sent to the Settlement Email Address. The

FAQs used by telephone agents to assist in responding to phone inquiries, are

similarly employed by JND’s email agents to respond to emails submitted by

Settlement Class Members.

      35.   The settlement mailbox associated with the Settlement Email Address

is managed and maintained by JND and is hosted in a secure cloud and on-premise

infrastructure. Data is encrypted at rest and any data transmitted to the Settlement

Email Address from the Settlement Website is encrypted in-transit. Additionally,

the mailbox is configured to employ encryption in-transit, whenever supported by a

claimant’s email solution, for communications directly between a potential or known

claimant’s mailbox and the settlement mailbox.

      36.   As of December 1, 2019, JND has received a total of 276,155 emails to

the Settlement Email Address and via the Settlement Website’s secure contact form.


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Emails are reviewed, categorized and subsequently responded to with the

appropriate information in accordance with approved protocols. As of December 1,

2019, JND is current with respect to all email inquiries. JND will continue to

maintain the Settlement Email Address and respond to Settlement Class Members’

inquiries throughout the Settlement administration process.

      C.     Toll-Free Telephone Number

      37.    As of the Preliminary Approval Date, JND went live with a 24-hour,

seven days a week, toll-free telephone line with IVR, 1-833-759-2982, for

Settlement Class Members to inquire about the Settlement and to obtain information

related to the Settlement. The toll-free telephone number has been operational since

that day and, as discussed above, is staffed with live operators who were

professionally trained in how to answer questions specifically related to the

Settlement, as well as in class action administration matters in general.

      38.    Since establishing the toll-free telephone line, JND has monitored call

activity on a daily basis and has made regular decisions, in consultation with

Counsel, regarding its call center staffing levels depending on call volume. JND’s

staffing includes project leads, supervisors and quality assurance personnel.

Additionally, we have regularly updated our call center scripts based on feedback

received from Settlement Class Members. For example, in certain instances, we

have added questions to the scripts, and in other instances, we have clarified


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information to make sure the claimant population understands the nuances of the

administration of the Settlement.

      39.    Call center agents have studied all of the Settlement documents and

have access to them at all times during telephone calls as a key reference resource.

In addition, a team of call center agents has access to claim records so they can speak

knowledgeably to Settlement Class Members who call in and have specific questions

about their claims.    As needed, complex and detailed inquiries regarding the

Settlement, the administration process, a claim or a situation are escalated to

appropriate JND personnel for handling.

      40.    During regular business hours (10:00 am – 6:30 pm EST), Monday

through Friday, the toll-free telephone line is answered by trained call center

agents. The call center is staffed so that eighty percent of calls are answered in

twenty seconds or less. After regular business hours, callers can listen to pre-

recorded informational messages specific to the Settlement via the IVR. Callers are

encouraged to visit the Settlement Website for additional information and, as

mentioned above, are able to securely contact the Settlement Administrator, if

needed. The call center was initially staffed with 150 call center agents plus support

staff, including supervisors and quality assurance personnel, immediately following

the launch of the administration program. With a focus on financial stewardship of

the Settlement, JND closely monitors call volume relative to staffing levels and


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makes reductions in headcount in line with reductions in call volume. The call center

headcount was reduced to 100 on or about August 27, 2019 and then reduced to 80

on September 17, 2019. The call center is currently staffed with 65 call center agents

in support of the Settlement.

      41.    As of December 1, 2019, the toll-free line has received a total of

375,246 calls and JND call center agents have fielded a total of 147,646 calls from

Settlement Class Members or other individuals. JND will continue to maintain the

toll-free IVR number and assist Settlement Class Members throughout the

Settlement administration process.

                      IV.   INITIAL CLAIMS RESPONSE

      42.    Once the Settlement Website went live with the interactive features on

July 24, 2019, individuals began filing claims almost immediately. Within twenty-

four (24) hours, JND had received over 380,000 on-line claims and within forty-

eight (48) hours, JND received over 2.4 million on-line claims. 3 Additionally, the

Settlement Website received over 22 million visits within the first twenty-four (24)

hours and over 46 million visits within the first forty-eight (48) hours. This

unprecedented website traffic was the result of the widespread news stories



3
 Claims could be submitted by anyone, and as such, these figures do not represent
how many claims were submitted by Settlement Class Members. JND has
subsequently validated the number of Settlement Class Members who have made
claims and is continuing to evaluate the validity of all submitted claims.

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regarding the Settlement that had been picked up by the media before the Court-

approved Notice Plan began. The Settlement was featured prominently in places

like the CNN, New York Times, and on the Today Show, among other national

media outlets. During this initial response, JND monitored the performance of the

Settlement Website in real time to ensure there were no issues with respect to its

integrity and availability. The Settlement Website suffered no outages during this

initial onslaught of traffic nor at any time since the Preliminary Approval Date.

        V.     DISSEMINATION OF DIRECT NOTICE VIA EMAIL

      43.    JND was charged with reaching out to the Settlement Class directly to

ensure that all consumers who had been actually affected by the Data Breach,

according to Equifax’s records, had an opportunity to learn more about and

participate in the Settlement. Pursuant to the Court approved Notice Plan, JND was

to send an initial email notice to those Settlement Class Members for whom an email

address could be identified 60 days following the entry of the Court Order approving

Notice, two additional supplemental emails during the Initial Claims Period to

Settlement Class Members who had not yet opted out, filed a claim or unsubscribed

from a previous email, and a third supplemental email at or about the beginning of

the Extended Claims Period.




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      44.   As discussed below and in compliance with the Court-approved Notice

Plan, JND has implemented the initial email notice campaign, as well as the first

supplemental email notice campaign.

      45.   On July 27, 2019, JND received, via secure file transfer protocol

(“SFTP”), 42 electronic files from Equifax containing the names, last known mailing

addresses, date of birth and last known email addresses, if available, of Settlement

Class Members at the time of the Equifax Data Breach (“Source Data”). The Source

Data contained 231,673,150 records, of which 147,424,404 had unique Equifax

identification numbers representing the 147,424,404 unique Settlement Class

Members. Some portion of the Settlement Class had multiple records, which caused

the delta between the 231,673,150 records and the 147,424,404 unique Settlement

Class Members.

      46.   The Source Data contained email addresses for only 20,916,994

Settlement Class Members. Therefore, in order to maximize the efficacy of the email

notice, and as contemplated by the Notice Plan, JND conducted a sophisticated email

append process working with TransUnion, a market leader in identifying email

addresses for specific users, to cross reference the information provided by Equifax

in an effort to find the best current email address for Settlement Class Members, as

well as two additional viable email addresses, if possible.       JND provided to

TransUnion the 231,673,150 records representing the 147,424,404 Settlement Class


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Members via SFTP. TransUnion utilized the data provided by JND to identify a best

single matching record in their data for each unique Settlement Class Member and

returned to JND resulting email address(es), if found, along with a unique

TransUnion identifier for the Settlement Class Member.

      47.    In advance of initiating each email campaign, JND performed several

tasks to ensure the highest possible deliverability rate so that more potential

Settlement Class Members would receive notice of the Settlement. For example,

JND, in collaboration with the Notice Provider, evaluated the emails for potential

spam language to improve deliverability. This process included running the

proposed email content through spam evaluation and testing software, and Domain

Keys (DKIM) were implemented to allow for best evaluation, identification, and

authorization of email servers. Additionally, my team checked the emailing domain

against the 25 most common email blacklists to ensure there were no existing

barriers prior to delivery.

      48.    For each email campaign, JND utilized a verification program to

validate the quality of the email addresses, and to eliminate invalid emails and spam

traps that would otherwise negatively impact deliverability. Thereafter, JND

scrubbed the list of email address for incomplete addresses to further identify all

invalid email addresses. The email content was then formatted and structured in a

way that receiving servers expected to receive emails, allowing for the emails to be


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transmitted easily to the recipients. In the event that a primary email address was

flagged as invalid during the validation process, JND utilized secondary or tertiary

valid email addresses provided by TransUnion or Equifax, where available.

      49.    To ensure readability of the email notices, my team worked with the

Notice Provider to review and format the content into a structure that was applicable

to all email platforms. Before initiating email notice, we worked with our contacts

at the largest Email Service Providers (“ESPs”) to ensure that the emails were

“whitelisted.” We then sent test emails to multiple ESPs and opened the emails on a

number of different devices, including desktop computers, iPhones, Android phones,

and tablets, to ensure the email was delivered and opened as expected.

      50.    JND included an “unsubscribe” link at the bottom of the email notices

to allow Settlement Class Members to opt-out of any additional email notices from

JND, which was essential to maintaining JNDs reputation among the ESPs and

reducing potential complaints relating to the email campaigns.

      51.    Additionally, JND included a disclaimer at the bottom of the email

notices informing Settlement Class Members that participation in the Settlement

would not require the provision of any personally identifiable information such as a

social security number, bank account information, credit card information, or driver

license number. The disclaimer went on to inform Settlement Class Members that

if they received an email that they suspected to be fraudulent, they should forward it


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immediately to abuse@EquifaxBreachSettlement.com (“Abuse Email Address”).

JND created the Abuse Email Address to receive emails from Settlement Class

Members in the event they suspected fraud. Our trained email agents are responsible

for monitoring and responding to emails sent to the Abuse Email Address. Emails

deemed to be suspicious, or potentially fraudulent, were and continue to be escalated

to JND’s Information Security and Information Technology departments for

investigation and determination.

      52.    Once JND completed all of the above-mentioned email validation and

fraud detection measures, we identified 104,815,404 Settlement Class Members who

had a valid email address and 42,609,000 Settlement Class Members who had either

an invalid or no email address.

      53.    Pursuant to the Court approved Notice Plan, on August 7, 2019, JND

began disseminating on a rolling basis, via email, the initial Court approved version

of the Notice to those Settlement Class Members for whom an email address was

identified (“Initial Email Notice”). JND completed sending the Initial Email Notices

on September 19, 2019. A representative copy of the Initial Email Notice is attached

hereto as Exhibit A.

      54.    In total, JND sent Initial Email Notices to 104,815,404 million

Settlement Class Members. Emails returned undeliverable as a soft bounce were

resent by JND no less than three times. Soft bounces typically occur when there are


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temporary issues with an email recipient such as a full email box or unavailable

email server. At the conclusion of this email campaign, 92.09% of the Initial Email

Notices were deemed delivered and only 7.91% were deemed undeliverable. In my

experience, this is a very high deliverability rate for an email program.

      55.    Thereafter, in accordance with the Notice Plan, on September 24, 2019,

JND began disseminating, via email, the second Court-approved version of the

Notice to Settlement Class Members who had not yet opted out, filed a claim or

unsubscribed from the Initial Email Notice (“First Supplemental Email

Notice”). JND completed the First Supplemental Email Notice campaign on

October 16, 2019. A representative copy of the First Supplemental Email Notice is

attached hereto as Exhibit B.

      56.    In total, JND sent First Supplemental Email Notices to 91,167,239

Settlement Class Members. Emails returned undeliverable as a soft bounce were

resent no less than three times. At the conclusion of the campaign, 99.26% of the

First Supplemental Email Notices were deemed delivered and 0.74% were deemed

undeliverable. This is an extraordinarily high deliverability rate.

      57.    JND will, in accordance with the Notice Plan, perform the two

remaining supplemental email notice campaigns, the specific timing of which will

be determined in consultation with the Notice Provider and Counsel, to avoid

logistical difficulties and to ensure proper deliverability and effectiveness.


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                 VI.    AMEND OR VALIDATE MY CLAIM

      58.   On or about August 1, 2019, after the Settlement received preliminary

approval but before commencement of delivery of the Settlement Notice and

implementation of the Notice Plan, Counsel provided JND with an updated Claim

Form, which conformed to the Settlement Agreement, requiring Settlement Class

Members to include the name of their credit monitoring service when submitting a

claim for Alternative Reimbursement Compensation. On August 2, 2019, before the

Court-approved Notice Plan was commenced, JND updated the Settlement Website

by loading the revised documentation and adjusting the on-line claim form.

      59.   On September 5, 2019, at Counsel’s request, JND updated the

Settlement Website to include an option for Settlement Class Members who

electronically filed a claim for Alternative Reimbursement Compensation prior to

August 2, 2019 to “amend or validate” their claims. Settlement Class Members

could “amend” their claims by changing their benefit election from Alternative

Reimbursement Compensation to Credit Monitoring or “validate” their claims for

Alternative Reimbursement Compensation by providing the name of their credit

monitoring service in accordance with the terms of the Settlement Agreement.

Additionally, Settlement Class Members were provided the option to withdraw their

claims for Alternative Reimbursement Compensation and receive neither this benefit

nor the Credit Monitoring benefit.


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      60.    At Counsel’s direction, JND began disseminating, via email, a notice

to those Settlement Class Members who electronically filed claims for Alternative

Reimbursement Compensation prior to August 2, 2019 (“Amend/Validate Email

Notification”) advising them of their options.         The Amend/Validate Email

Notification was sent to the email addresses submitted by Settlement Class Members

on their electronically-filed claims using industry-accepted best practices for the

dissemination of email.

      61.    Additionally, JND created a link on the Settlement Website for

Settlement Class Members to validate their claims directly from the front page of

the Settlement Website, itself, without the need to access email.

      62.    These Settlement Class Members were required to either amend or

validate their claim via the Settlement Website, or by mail, no later than October 15,

2019. JND began sending the Amend/Validate Notification on September 5, 2019

and completed sending the Amend/Validate Notification on September 16, 2019. A

representative copy of the Amend/Validate Email Notification is attached hereto as

Exhibit C.    At the conclusion of the campaign, JND determined that 99.7%

Amend/Validate Email Notification emails were deemed delivered. For those

Settlement Class Members who did not amend or validate their claim by October 15,

2019, JND flagged their claims for follow-up as part of the routine deficiency

process outlined in the Settlement Agreement.


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                            VII. CLAIMS FILING

      63.   The Notice informed Settlement Class Members that they were

permitted to submit Claim Forms either electronically through the Settlement

Website or physically via the United States Postal Service (“USPS”) to JND. Claims

for Out-of-Pocket Losses, Alternative Reimbursement Compensation, Time Spent,

and Credit Monitoring Services are required to be submitted electronically to JND

on or before January 22, 2020, or postmarked by January 22, 2020, and delivered to

JND via the United States Postal Service.

      64.   JND is currently reviewing and processing the remaining Claim Forms

consistent with the Settlement Agreement and the Claims Administration Protocol.

      65.   As of December 1, 2019, JND has received 281,746 claims for Out-of-

Pocket Losses from Settlement Class Members. Of these, 80,892 were submitted

with some form of documentation. Assuming all claims for Out-of-Pocket Losses

with supporting documentation are valid and submitted in accordance with the

Settlement Agreement and Claims Administration Protocol, the Settlement Class

Members who submitted these claims will receive the full amount of their claimed

Out-of-Pocket Losses.

      66.   As of December 1, 2019, JND has received 4,509,727 claims for

Alternative Reimbursement Compensation from Settlement Class Members who

provided a response regarding a claimed credit monitoring service.


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      67.    As of December 1, 2019, JND has received 3,316,414 claims for three-

bureau credit monitoring services for four years from Settlement Class Members.

      68.    As of December 1, 2019, JND has received 2,306,526 claims for

single-bureau credit monitoring services for an additional four years from

Settlement Class Members.

      69.    As of December 1, 2019, JND has received a total of 1,845,603 claims

for Time Spent from Settlement Class Members. Of the claims received, 1,528,212

do not require documentation and 317,391 do require documentation. Of the

317,391 that require documentation, 48,702 Settlement Class Members have

satisfied that requirement of the Settlement Agreement to date.

      70.    The deadline for Settlement Class Members to submit Claim Forms

during the Initial Claims Period is January 22, 2020.

      71.    As discussed above, JND has developed Settlement specific procedures

and protocols for claims processing and supporting documentation review in this

Action. All claims processors working on the Settlement have received and will

continue to receive training to ensure they understand the procedures and protocols

applicable to the Settlement, and to assist with processing claims properly and

accurately in accordance with the Claims Administration Protocol.

      72.    As part of the claims process, JND is conducting a deficiency review to

determine if claims submitted by Settlement Class Members are deficient, in whole


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or in part, based on the parameters set forth in the Claims Administration Protocol

and the Settlement Agreement. Within fourteen (14) days of making such a

determination, JND will notify the Settlement Class Member, using the Settlement

Class Members’ preferred method of communication, of the deficiency via a

deficiency notice. Per the Settlement Agreement, the deficiency notice will outline

the deficiency associated with each Settlement Class Member’s claim and provide

the Settlement Class Member with thirty (30) days to cure the deficiency or dispute

the deficiency determination in writing and request an appeal.

      73.    When a Settlement Class Member attempts to cure a deficiency and

fails to do so, JND will notify the Settlement Class Member, in writing, within

fourteen (14) days of making its determination.        The notice will inform the

Settlement Class Member of his/her right to dispute the determination in writing and

request an appeal within thirty (30) days. If a Settlement Class Member disputes a

determination in writing and requests an appeal, JND will provide Counsel with a

copy of the written dispute and claim form, as well as any supporting documentation

associated with the Class Members claim. Counsel for the Parties will then confer

regarding the claim submission and determine whether or not to accept the

Settlement Class Member’s claim. If Counsel cannot agree on approval of a

Settlement Class Member’s claim, in whole or in part, the dispute shall be submitted

to a mutually-agreeable neutral third party who will serve as a claims referee. If no


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agreement is reached on the selection of a claims referee, Counsel for the Parties

will submit proposals to the Court, who will have final, non-appealable decision-

making authority over designating the claims referee. The claims referee’s decision

will be final and not subject to appeal or further review.

                     VIII. REQUESTS FOR EXCLUSIONS

      74.    The Notice informed Settlement Class Members that anyone who

wanted to be excluded from the Settlement could do so by submitting a written

request for exclusion (“opt-out”) to JND, postmarked by November 19, 2019. To

be valid, exclusion requests must have been timely submitted and contain the

following information:

      •      The name of the Action or similar identifying words such as Equifax
             Data Breach Lawsuit;

      •      Full name and address;

      •      The words “Request for Exclusion” at the top of the document or a
             statement that Settlement Class Members do not wish to participate in
             the Settlement; and

      •      Signature.

      75.    The Notice further informed Settlement Class Members that if they did

not comply with the opt-out procedures and the November 19, 2019 deadline, they

would lose the opportunity to exclude themselves from the Settlement Class and

their rights would be determined in the Action by the Settlement Agreement if it is

approved by the Court.

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      76.   As of December 1, 2019, JND has received 2,770 timely and valid

exclusion requests from Settlement Class Members. Attached hereto as Exhibit D

is a list identifying Settlement Class Members who submitted timely and valid

exclusion requests to JND. In accordance with the Settlement Agreement, on

November 26, 2019, JND provided a final written report to Counsel summarizing

the number of requests for exclusions.

                IX.   OBJECTIONS TO THE SETTLEMENT

      77.   The Notice informed Settlement Class Members that anyone who

wanted to object to the approval of the Settlement could so by submitting an

objection letter electronically to the Court on or before November 19, 2019, or by

mailing an objection letter to JND, postmarked by November 19, 2019. To be

valid, the objection letter must have been timely submitted and contain the

following information:

      •     The name of the Action or similar identifying words such as Equifax
            Data Breach Lawsuit;

      •     Full name and current address;

      •     Personal signature (an attorney’s signature is not enough);

      •     A statement indicating why the Settlement Class Member believes
            he/she is a member of the Settlement Class;

      •     A statement with the reasons why the Settlement Class Member is
            objecting, accompanied by any legal support for such objection; A
            statement identifying all class action settlements to which the
            Settlement Class Member has objected in the previous five years; and


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            A statement as to whether the Settlement Class Member intends to
            appear at the Fairness Hearing, either in person or through a lawyer,
            and if through a lawyer, the identification of the lawyer by name,
            address, and telephone number, and four dates between 11/19/2019 and
            12/5/2019 during which the Settlement Class Member is available to be
            deposed by Counsel.

      78.   Additionally, if a Settlement Class Member is represented by a lawyer

and the lawyer intends to speak at the Fairness Hearing, the Settlement Class

Member’s written objection letter must include:

      •     A detailed statement of the specific legal and factual basis for each and
            every objection; and

      •     A detailed description of any and all evidence Settlement Class
            Member may offer at the Fairness Hearing, including copies of any and
            all exhibits that may be introduced at the Fairness Hearing.

      79.   Further, if the Settlement Class Member is represented by a lawyer, and

the lawyer intends to seek compensation for her/his services from anyone other than

the Settlement Class Member, the written objection letter must include:

      •     The identity of all lawyers who represent the Settlement Class Member,
            including any former or current lawyer who may be entitled to
            compensation for any reason related to the objection;

      •     A statement identifying all instances in which the lawyer or the
            lawyer’s law firm have objected to a class action settlement within the
            preceding five years, giving the case name, case number, and court in
            which the class action settlement was filed;

      •     A statement identifying any and all agreements or contracts that relate
            to the objection or the process of objecting—whether written or oral—
            between the Settlement Class Member, his/her lawyer, and/or any other
            person or entity;


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      •      A description of the lawyer’s legal background and prior experience in
             connection with class action litigation; and

      •      A statement regarding whether the lawyer’s compensation will be
             calculated on the basis of a lodestar, contingency, or other method; an
             estimate of the amount of fees to be sought; the factual and legal
             justification for any fees to be sought; the number of hours already
             spent by the lawyer and an estimate of the hours to be spent in the
             future; and the lawyer’s hourly rate.

      80.    As of December 1, 2019, JND has received 1,106 timely objections

from Settlement Class Members. In accordance with the Settlement Agreement, on

November 26, 2019, JND provided a final written report to Counsel summarizing

the number of objections.

      81.    Objections to the Settlement trickled in at a steady pace of less than a

handful per day save for two occasions. The first was after the publication of a New

York Times opinion piece on September 16, 2019. For example, while JND received

less than 10 objections per day before the piece was published, the number of

objections jumped shortly after the piece was published—to 48 objections on

September 20, 2019, and 109 objections on September 23, 2019. A chart detailing

when all objections were received appears below. The second occurrence occurred

when JND received 916 objections from Class Action Inc. It appears from JND’s

preliminary analysis that, as of the date of this Declaration, 198 of the Class Action

Inc. objections are not Settlement Class Members and 718 are Settlement Class

Members. JND is still analyzing this data. It is my understanding that these


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objections were created using a chatbot website called www.NoThanksEquifax.com.

The website permitted individuals to electronically check boxes indicating whether

they considered the Settlement to be unfair, inadequate, unreasonable or unduly

burdensome. The website then used the automated responses submitted by the

individuals to create one-page objections with what purport to be electronic

signatures, which were ultimately mailed to JND by Class Action Inc. JND does not

possess information sufficient to determine whether the signatures on the objections

are valid. Additionally, JND understands that Class Action Inc. obtained a number

of objections that were purportedly unsigned. Those “unsigned” objections were not

provided to JND. If the objections submitted by Class Action Inc. are excluded,

JND received 388 timely objections from Settlement Class Members.

                                          Number of
                         Date Received    Objections
                         August
                            1-Aug                  2
                            6-Aug                  4
                            7-Aug                  1
                            8-Aug                  1
                            9-Aug                  3
                            12-Aug                 1
                            16-Aug                 1
                            19-Aug                 4
                            21-Aug                 1
                            22-Aug                 1
                            23-Aug                 1
                            29-Aug                 2
                         September
                            3-Sep                  4
                            6-Sep                  1


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                                   Number of
                   Date Received   Objections
                      10-Sep                 1
                      12-Sep                 1
                      13-Sep                 1
                      16-Sep                 3
                      17-Sep                 1
                      18-Sep                 1
                      19-Sep                 4
                      20-Sep                48
                      23-Sep               109
                      24-Sep                22
                      25-Sep                 4
                      26-Sep                18
                      27-Sep                14
                      30-Sep                37
                   October
                      1-Oct                 4
                      2-Oct                 4
                      3-Oct                 9
                      4-Oct                 4
                      7-Oct                20
                      8-Oct                 4
                      10-Oct                2
                      11-Oct                4
                      15-Oct               10
                      17-Oct                1
                      18-Oct                4
                      21-Oct                4
                      22-Oct                5
                      23-Oct                1
                      24-Oct                3
                      25-Oct                1
                      28-Oct               10
                      30-Oct                1
                      31-Oct                1
                   November
                      2-Nov                 1
                      4-Nov                 7
                      5-Nov                 1


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                                          Number of
                          Date Received   Objections
                             7-Nov                  4
                             8-Nov                  4
                             12-Nov                 6
                             15-Nov                 5
                             18-Nov                16
                             19-Nov                21
                             20-Nov                 1
                             22-Nov               925
                             25-Nov                 3
                             26-Nov                 1
                          December
                             2-Dec                  2



                               X.     REPORTING

      82.    JND communicates frequently with the Parties and their Counsel by

telephone and email to discuss the status of the administration and jointly consider

details related to each phase of the administration of the Settlement. Additionally,

we have regularly scheduled calls, at which time we collaboratively discuss and

resolve any open items.

      83.    In addition to our regularly scheduled calls, we are readily available to

discuss any matters related to the administration as they arise in the Action. We

exchange emails weekly and sometimes daily regarding compliance with the Notice

Plan, the claims process or the administrative process, generally. We also contact

Counsel as needed to clarify questions or obtain additional information related to the

administration of the Settlement.


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      84.   Our required reporting supplements our regular communications with

Counsel. Specifically, we circulate daily and weekly reports on number of claims

filed based on claim type, settlement website traffic, call center/email volume,

potential exclusions, and objections as they are received by JND.

                             XI.    DUE PROCESS

      85.   The Notice Plan, which was developed by the Notice Provider in

consultation with Counsel, as well as state and federal regulators, and approved by

the Court in its Order, was designed to reach as many Settlement Class Members as

practicable under the circumstances, and included the following six components: (1)

initial research and testing; (2) direct email notice to Settlement Class Members

whose email addresses were identified through reasonable efforts; (3) digital notice

during the Initial Claims Period; (4) paid publication notice through the use of

newspaper and radio; (5) additional digital advertising during the Extended Claims

Period; and (6) supplemental notice measures if necessary.

      86.   As discussed in detail above, under the terms of the Settlement

Agreement, JND was responsible for the implementation of the direct notice via

email component of the Notice Plan. The Notice Provider was responsible for the

implementation of the remaining components of the Notice Plan, the specific details

of which are discussed in the Declaration of Jim Messina of Signal Interactive

Media, Inc. Although JND was not responsible for executing the remaining


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components under the Notice Plan, my team and I worked closely with the Notice

Provider to ensure that these components were executed in the time and manner as

set forth in the Notice Plan.

      87.    In my professional opinion, the Notice Plan was implemented to

achieve the best practicable notice under the circumstances of this Action and

satisfied Rule 23 of the Federal Rules of Civil Procedure, as well as all applicable

rules governing class actions. Additionally, as discussed below, although not

measurable, the extensive media coverage that this Settlement received undoubtedly

added to the effectiveness of the Notice Plan.

      A.     Digital Notice

      88.    JND has confirmed that the Notice Provider achieved 1.12 billion

digital impressions, of which 458 million occurred on Facebook and related

platforms, 103 million on Twitter, 566 million on Display and 624,000 paid search

impressions. In addition, it is my understanding that the Notice Provider is on target

to deliver an additional 332 million impressions during the remainder of Initial

Claims Period, including 133 million on Facebook and related platforms, 106

million on Twitter, and 93 million on Display. This brings the total combined

impressions to over 1.4 billion, which exceeds the 1.2 billion originally planned in

the Notice Plan.




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      B.     Paid Publication

      89.    JND additionally confirmed that the Notice Provider caused a full-page

notice to appear in the September 6, 2019 issue of USA Today. In addition, JND

verified that from August 19, 2019, through September 8, 2019, the Notice Provider

caused radio spots to broadcast delivering a total of 194,797,199 impressions, of

which 63,636,800 were targeted to adults 55 years of age or older.

      C.     Additional Press Coverage

      90.    JND monitored the press coverage that the Settlement in the Action

garnered, including, but not limited to 48 news releases issued by State Attorneys

General.    The news coverage was extensive in virtually every U.S. market,

increasing exposure and reach to Settlement Class Members. From July 22, 2019,

through December 1, 2019, there were approximately 29,900 mentions related to the

Data Breach or the Settlement in the Action.




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                              XII. CONCLUSION

      91.    JND has performed its responsibilities as set forth in the Settlement

Agreement and the Order and will continue to do so through all phases of the

Settlement, as required by the Settlement Agreement, the Order and any future

orders of this Court.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed on December 5th, 2019, in Seattle, Washington.




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From:                             Equifax Breach Settlement Administrator <info@equifaxbreachsettlement.com>
Sent:
To:
Subject:                          Equifax Data Breach Settlement - You may be eligible for cash, free credit monitoring,
                                  and more



                                     COURT APPROVED LEGAL NOTICE

           If Your Personal Information Was Impacted in the 2017 Equifax Data Breach, You May
                           Be Eligible for Benefits from a Class Action Settlement

            Un aviso de este acuerdo también está disponible en www.EquifaxBreachSettlement.com/es

           In September of 2017, Equifax announced it experienced a data breach, which impacted the
           personal information of approximately 147 million people. Equifax has reached a proposed
           settlement to resolve class action lawsuits brought by consumers alleging Equifax failed to
           adequately protect their personal information. Equifax denies any wrongdoing, and no
           judgment or finding of wrongdoing has been made.

           If your personal information was impacted in the Equifax data breach, you may be eligible for
           benefits from the settlement after it becomes final. Under the proposed settlement, Equifax
           will: (1) pay $380.5 million into a fund to pay benefits to consumers, court-approved fees and
           costs of class counsel and service awards to the named class representatives, and other
           expenses; (2) implement and maintain certain data security enhancements; (3) if necessary, pay
           up to $125 million more to reimburse consumers for out-of-pocket losses resulting from the
           data breach; and (4) provide certain other relief.

           Are You Eligible: You are a class member and eligible for settlement benefits if you are a
           U.S. consumer whose personal information was impacted by the Equifax data breach. If you
           are unsure of whether you are a class member, visit www.EquifaxBreachSettlement.com and
           click the "Find Out if Your Information Was Impacted" button or call 1-833-759-2982.

           Benefits: If you are a class member, you are eligible for one or more of the following benefits:

               1. Free Credit Monitoring or Cash Payment. You can get free credit monitoring
               services. Or, if you already have credit monitoring services, you can request a cash
               payment of up to $125.
                   • The free credit monitoring includes at least four years of three-bureau
                      credit monitoring, offered through Experian. You can also get up to six
                      more years of free one-bureau credit monitoring through Equifax.
                   • If you already have credit monitoring services that will continue for at
                      least 6 more months, you may be eligible for a cash payment of up to
                      $125. The amount you receive may be substantially less than $125,
                      depending on the number of claims that are filed.



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     2. Other Cash Payments. You may also be eligible for the following cash payments
     up to $20,000 for:
          • the time you spent remedying fraud, identity theft, or other misuse of
            your personal information caused by the data breach, or purchasing credit
            monitoring or freezing credit reports, up to 20 total hours at $25 per hour.
          • out-of-pocket losses resulting from the data breach.
          • up to 25% of the cost of Equifax credit or identity monitoring
            products you paid for in the year before the data breach announcement.
     3. Free Identity Restoration Services: You are eligible for at least 7 years of free
     assisted identity restoration services to help you remedy the effects of identity theft
     and fraud.
Important Information Regarding the Proportional Reduction of Benefits. If you request or
have requested a cash benefit, the amount you receive may be significantly reduced depending
on how many valid claims are ultimately submitted by other class members for this relief.
Based on the number of potentially-valid claims that have been submitted to date, payments for
time spent and alternative compensation of up to $125 likely will be substantially lowered and
will be distributed on a proportional basis if the settlement becomes final. Depending on the
number of additional valid claims that are filed, the amount you receive for these benefits may
be a small percentage of your initial claim.

How to Get Benefits:

To get free credit monitoring or cash payments, or both, you must submit a claim:
    • Online at www.EquifaxBreachSettlement.com, or
    • By mail.

You must submit a claim by January 22, 2020. Certain claims may require supporting
documents. If you have already filed a claim, there is no need to do so again.

If there is still money in the fund after payment of valid claims submitted during the initial
claims period that ends on January 22, 2020, there will be an extended claims period lasting for
four years. In the extended claims period, you may make certain claims for out-of-pocket
losses incurred in the future, including time and money spent trying to address identity theft or
fraud related to the data breach.

You don’t need to file a claim to get free identity restoration services.

None of these benefits will be distributed or available until the settlement is finally approved
by the Court. If you make a claim for cash compensation, the amount of money you receive
may be significantly less than the claim you submit depending on the number and amount of
claims that are submitted.

Understanding Your Options:

If you want the Court to exclude you from the settlement class, you must write to the
Settlement Administrator by November 19, 2019. List the name of this proceeding (In re:
Equifax Inc. Customer Data Security Breach Litigation, Case No. 1:17-md-2800-TWT), your
full name, your current address, and the words “Request for Exclusion” at the top of the
document. You must sign this request and mail it to Equifax Data Breach Class Action
                                                 2
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                Settlement Administrator, Attn: Exclusion, c/o JND Legal Administration, P.O. Box 91318,
                Seattle, WA 98111.

                To object to the settlement, you must file an objection with the Court by November 19, 2019.
                For detailed instructions about the process of objecting, visit
                www.EquifaxBreachSettlement.com.

                You must file a claim if you want to receive free credit monitoring or cash benefits under this
                settlement. If you do nothing, you won’t receive a cash payment or credit monitoring services,
                won’t be able to sue Equifax for the claims being resolved in the settlement, and will be legally
                bound by all orders of the Court.

                The Court will hold a hearing on December 19, 2019, to consider any objections, and decide
                whether to approve the settlement, award attorneys’ fees and expenses, and grant service
                awards to the named class representatives. You may enter an appearance through an attorney,
                but do not have to. The Court has appointed lawyers to represent you and the class, but you can
                hire another lawyer at your own expense.

                This is only a summary of the settlement. For more information, visit
                www.EquifaxBreachSettlement.com, or call (toll free) 1-833-759-2982.

                This is a Court authorized notice, not a lawyer advertisement.

                Email Disclaimer
                The Equifax Data Breach Settlement Administrator will never ask you to provide sensitive
                information, such as, your Social Security Number or Tax ID, Bank Account Number, Credit
                Card Number, Driver’s License or Passport Number, or Password, etc. via email. All email
                communications sent by the Equifax Data Breach Settlement Administrator OR on behalf of the
                settlement administrator will originate from info@equifaxbreachsettlement.com, the official
                email address of the settlement. If you receive an email which you suspect to be fraudulent, do
                not reply or do anything it instructs you to do, but immediately forward it to
                abuse@equifaxbreachsettlement.com.
                                    To unsubscribe, please click on the following link: unsubscribe
To help
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                  Exhibit B
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From:                             Equifax Breach Settlement Administrator <info@equifaxbreachsettlement.com>
Sent:
To:
Subject:                          Claim Your Benefits in the Equifax Data Breach Settlement



                                     COURT APPROVED LEGAL NOTICE

               If Your Personal Information Was Impacted in the 2017 Equifax Data
                   Breach, You May Be Eligible for Benefits from a Class Action
                                            Settlement
                                Un aviso de este acuerdo también está disponible en
                                      www.EquifaxBreachSettlement.com/es
           In September of 2017, Equifax announced it experienced a data breach, which impacted the
           personal information of approximately 147 million people. Equifax has reached a proposed
           settlement to resolve class action lawsuits brought by consumers alleging Equifax failed to
           adequately protect their personal information. Equifax denies any wrongdoing, and no
           judgment or finding of wrongdoing has been made.

           If your personal information was impacted in the Equifax data breach, you may be eligible for
           benefits from the settlement after it becomes final. Under the proposed settlement, Equifax
           will: (1) pay $380.5 million into a fund to pay benefits to consumers, court-approved fees and
           costs of class counsel and service awards to the named class representatives, and other
           expenses; (2) implement and maintain certain data security enhancements; (3) if necessary, pay
           up to $125 million more to reimburse consumers for out-of-pocket losses resulting from the
           data breach; and (4) provide certain other relief.

           Are You Eligible: You are a class member and eligible for settlement benefits if you are a
           U.S. consumer whose personal information was impacted by the Equifax data breach. If you
           are unsure of whether you are a class member, visit www.EquifaxBreachSettlement.com and
           click the "Find Out if Your Information Was Impacted" button or call 1-833-759-2982.

           Benefits: If you are a class member, you are eligible for one or more of the following benefits:

                      1. Free Credit Monitoring or Cash Payment. You can get free credit monitoring
                      services. Or, if you already have credit monitoring services, you can request a cash
                      payment of up to $125.
                         • The free credit monitoring includes at least four years of three-bureau credit
                             monitoring, offered through Experian. You can also get up to six more years
                             of free one-bureau credit monitoring through Equifax.
                         • If you already have credit monitoring services that will continue for at least 6
                             more months, you may be eligible for a cash payment of up to $125. The
                             amount you receive may be substantially less than $125, depending on
                             the number of claims that are filed.


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           2. Other Cash Payments. You may also be eligible for the following cash
           payments up to $20,000 for:

              •   the time you spent remedying fraud, identity theft, or other misuse of your
                  personal information caused by the data breach, or purchasing credit
                  monitoring or freezing credit reports, up to 20 total hours at $25 per hour.
              •   out-of-pocket losses resulting from the data breach.
              •   up to 25% of the cost of Equifax credit or identity monitoring products
                  you paid for in the year before the data breach announcement.
           3. Free Identity Restoration Services: You are eligible for at least 7 years of free
           assisted identity restoration services to help you remedy the effects of identity theft
           and fraud.


Important Information Regarding the Proportional Reduction of Benefits. If you request or
have requested a cash benefit, the amount you receive may be significantly reduced depending
on how many valid claims are ultimately submitted by other class members for this relief.
Based on the number of potentially-valid claims that have been submitted to date, payments for
time spent and alternative compensation of up to $125 likely will be substantially lowered and
will be distributed on a proportional basis if the settlement becomes final. Depending on the
number of additional valid claims that are filed, the amount you receive for these benefits may
be a small percentage of your initial claim.

How to Get Benefits:
To get free credit monitoring or cash payments, or both, you must submit a claim:
   • Online at www.EquifaxBreachSettlement.com, or
   • By mail.

You must submit a claim by January 22, 2020. Certain claims may require supporting
documents. If you have already filed a claim, there is no need to do so again.

If there is still money in the fund after payment of valid claims submitted during the initial
claims period that ends on January 22, 2020, there will be an extended claims period lasting for
four years. In the extended claims period, you may make certain claims for out-of-pocket
losses incurred in the future, including time and money spent trying to address identity theft or
fraud related to the data breach.

You don’t need to file a claim to get free identity restoration services.

If you make a claim for cash compensation, the amount of money you receive may be
significantly less than the claim you submit depending on the number and amount of claims
that are submitted.

Understanding Your Options:
If you want the Court to exclude you from the settlement class, you must write to the
Settlement Administrator by November 19, 2019. List the name of this proceeding (In re:
Equifax Inc. Customer Data Security Breach Litigation, Case No. 1:17-md-2800-TWT), your
full name, your current address, and the words “Request for Exclusion” at the top of the
document. You must sign this request and mail it to Equifax Data Breach Class Action
                                                2
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Settlement Administrator, Attn: Exclusion, c/o JND Legal Administration, P.O. Box 91318,
Seattle, WA 98111.

To object to the settlement, you must file an objection with the Court by November 19, 2019.
For detailed instructions about the process of objecting, visit
www.EquifaxBreachSettlement.com

You must file a claim if you want to receive free credit monitoring or cash benefits under this
settlement. If you do nothing, you won’t receive a cash payment or credit monitoring services,
won’t be able to sue Equifax for the claims being resolved in the settlement, and will be legally
bound by all orders of the Court.

The Court will hold a hearing on December 19, 2019, to consider any objections, and decide
whether to approve the settlement, award attorneys’ fees and expenses, and grant service
awards to the named class representatives. You may enter an appearance through an attorney,
but do not have to. The Court has appointed lawyers to represent you and the class, but you can
hire another lawyer at your own expense.

This is only a summary of the settlement.

    None of these benefits will be distributed or available until the settlement is finally
                                   approved by the Court.
    For more information, visit www.EquifaxBreachSettlement.com,
                   or call (toll free) 1-833-759-2982.

This is a Court authorized notice, not a lawyer advertisement.

Email Disclaimer
The Equifax Data Breach Settlement Administrator will never ask you to provide sensitive
information, such as, your Social Security Number or Tax ID, Bank Account Number, Credit
Card Number, Driver’s License or Passport Number, or Password, etc. via email. All email
communications sent by the Equifax Data Breach Settlement Administrator OR on behalf of the
settlement administrator will originate from info@equifaxbreachsettlement.com, the official
email address of the settlement. If you receive an email which you suspect to be fraudulent, do
not reply or do anything it instructs you to do, but immediately forward it to
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                  Exhibit C
                  Case 1:17-md-02800-TWT Document 900-4 Filed 12/05/19 Page 52 of 127




From:                              Equifax Data Breach Settlement Administrator
Sent:
To:
Subject:                           Your Equifax Claim: You Must Act by October 15, 2019 or Your Claim for Alternative
                                   Compensation Will Be Denied



                                   Your Claim Number:
           According to our records, you filed a claim for alternative compensation of up to $125 in
           connection with the Equifax data breach settlement and certified on the claim form that you
           had some form of credit monitoring or protection in place and will continue to have the credit
           monitoring in place for a minimum of six months from the date of your claim filing.

                   You must either verify or amend your claim by October 15, 2019.

                   If you do not, your claim for alternative compensation will be denied.

              •    To verify your claim for alternative compensation, you must provide the name of your
                   credit monitoring service that you had in place when you filed your claim.

                                                         - OR -

              •    You can amend your claim to request free credit monitoring instead of alternative
                   compensation.


           The easiest way to verify or amend your claim is by visiting the official Settlement Website
           here.

           The amount you receive in connection with your alternative compensation claim may be
           significantly reduced depending on how many valid claims are ultimately submitted by other
           class members for this relief. Based on the number of potentially valid claims that have been
           submitted to date, payments of these benefits likely will be substantially lowered and will be
           distributed on a proportional basis if the settlement becomes final. Depending on the number of
           valid claims that are filed, the amount you receive for alternative compensation may be a small
           percentage of your initial claim.

           Please note that if you do not take action by October 15, 2019, your claim for alternative
           compensation will be denied.

           You can also verify or amend your claim by sending us a letter stating either the name of the
           credit monitoring service you had in place when you filed your claim or that you wish to
           amend your claim to select credit monitoring instead. Please include your full name, claim
           number from the top of this email, and zip code to the address below:




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                                              In re Equifax Data Breach Settlement
                                                  c/o JND Legal Administration
                                                          PO Box 91318
                                                     Seattle, WA 98111-9418

                Further information about your rights and options, including the right to exclude yourself from
                the settlement, is available at www.EquifaxBreachSettlement.com.

                This email is from the Court-appointed settlement administrator, not Equifax. Please do not
                contact Equifax with questions. To contact the settlement administrator, click here.

                Email Disclaimer

                The Equifax Data Breach Settlement Administrator will never ask you to provide sensitive
                information, such as, your Social Security Number or Tax ID, Bank Account Number, Credit
                Card Number, Driver’s License or Passport Number, or Password, etc. via email. All email
                communications sent by the Equifax Data Breach Settlement Administrator OR on behalf of the
                settlement administrator will originate from info@equifaxbreachsettlement.com, the official
                email address of the settlement. If you receive an email which you suspect to be fraudulent, do
                not reply or do anything it instructs you to do, but immediately forward it to
                abuse@equifaxbreachsettlement.com.

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                  Exhibit D
      Case 1:17-md-02800-TWT Document 900-4 Filed 12/05/19 Page 55 of 127
                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
      1               LaTina                        Y.                    KS
      2                Kayla                        K.                    TX
      3               Trenton                       H.                    TX
      4               Michael                       M.                    GA
      5                Adam                         M.                   WA
      7                Heath                        N.                   WA
      8               Donald                        G.                    CA
      9               Clayton                       R.                    MO
     10               Corliss                       C.                    TX
     12               Michael                       G.                    OH
     14               Stephen                        J.                   CA
     15                 Neal                        W.                    VA
     16              Stephanie                      M.                    CA
     17                Jenny                         T.                   CA
     18                Anton                        H.                    CA
     20                Karen                        W.                    NY
     21               Charles                       B.                    NY
     22               Martin                        H.                    FL
     23                 John                        Y.                    MD
     24                Diana                        Y.                    MD
     25               Thomas                         S.                   CA
     26                Aaron                        B.                    CA
     27              Matthew                         F.                   IA
     29                David                        C.                    NY
     31                Marc                         W.                    CA
     32                 Joel                        W.                    CA
     33              Anthony                        R.                    TX
     34              Savannah                       R.                    TX
     36                Penny                        A.                    CO
     37                  S.                         A.                    CO
     38               Robert                         I.                   NC
     39                Nigel                         T.                   CO
     40                April                         S.                   NC
     41               George                         I.                   NC
     42               Shirley                       W.                    CA
     43                Shaun                         S.                   PA
     47               Michael                       B.                    TX
     48                Carla                        B.                    TX

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      Case 1:17-md-02800-TWT Document 900-4 Filed 12/05/19 Page 56 of 127
                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
     49                Brian                        H.                    GA
     50                Steve                        D.                    OH
     51                Andre                        V.                   WA
     52                  Eric                        E.                  WA
     54                Frank                        D.                    MD
     55                 Irene                       D.                    MD
     56              Thomas                         C.                    PA
     57                 Sara                        G.                    ME
     58                James                         J.                   OR
     61              Michael                        L.                    OR
     62               Charles                       W.                   WA
     63                 Shao                        H.                   WA
     64                 Paul                         E.                  WA
     65               Kellum                        H.                    MA
     67               Joshua                        C.                    FL
     68               Phuong                        H.                    MA
     69                Linda                        C.                    HI
     70               Veena                         K.                    HI
     71                Ingrid                       W.                    OH
     74                Philip                       H.                    NY
     76                Tariq                         E.                   NC
     77                 Majd                        A.                    NC
     78               Klassik                       N.                    GA
     79                David                         E.                   SC
     80                Nikki                        K.                    CT
     84                Linda                        W.                    MI
     85                Harry                        R.                    IL
     86              Matthew                        D.                    IL
     88              Michael                        A.                    MI
     89                Robin                         P.                   SC
     90               Duane                         A.                    VA
     93              Nicholas                       C.                    ME
     95               Patricia                      T.                    CT
     96                Kiran                        V.                    HI
     97                 Luka                         J.                   NY
     99               Ginger                        C.                    TX
    100             Christopher                      F.                   NC
    101              William                        B.                    IL

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                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
    102              Deborah                        B.                    IL
    103              Timothy                        M.                    TX
    104              Shabana                         S.                   TX
    105               Wendy                          P.                   MD
    106               William                        P.                   MD
    107               Nicole                        B.                    MA
    108              Lawrence                        P.                   MA
    109              Shannon                        M.                    MI
    110                Brian                        M.                    MI
    111                 Paul                        A.                    MI
    112                  Jill                       C.                    ID
    113                Jason                        W.                    ID
    114                Adam                          I.                   VA
    115                Ismail                        I.                   VA
    116               Emma                           I.                   VA
    117                Keith                         F.                   MN
    118                 Beth                         F.                   MN
    119             Christopher                     G.                    NM
    120               Nicole                        G.                    NM
    122                Edgar                        W.                    MD
    123               Andrew                         S.                   GA
    125                Kellie                       C.                    MD
    126              Florence                        J.                  NC
    127                 Kali                        D.                    AR
    128                 Kim                         W.                   WA
    131               Tonya                         R.                    KS
    132                Kecia                        H.                    KS
    133                 Gary                        C.                    OR
    135                Mark                         M.                    NC
    136              Stephanie                      M.                    NC
    137                 Lisa                         L.                   MI
    138                Kelly                         E.                   MA
    139                 Sian                        B.                    VA
    140                Grant                        D.                    AR
    142                 Amy                          P.                   NH
    143                 Paul                        B.                    MA
    144                Sarah                        H.                    MA
    145               Jeffrey                       C.                    MA

                                   Page 3 of 73
      Case 1:17-md-02800-TWT Document 900-4 Filed 12/05/19 Page 58 of 127
                          Timely and Valid Exclusions

JND Identifier     First Name          First Initial of Last Name   State/Province
    146                 Paul                        N.                    VA
    149                Daryl                         E.                   MA
    150                Garry                        H.                    VA
    152              Thomas                         E.                    MI
    153               Harold                         I.                   AZ
    154              Elizabeth                      B.                    MA
    155              Raphael                         T.                   MO
    156               Robert                        B.                    NM
    157               Karlon                        B.                    NM
    158                James                        D.                    MA
    159                 Arne                        W.                    OH
    161                Kirill                        S.                   CA
    162              Emanuel                        M.                   WA
    164               Venicia                       C.                    NV
    165              Margaret                       D.                    PA
    166                Scott                        H.                    OH
    167              William                        T.                    MO
    168                Emily                        T.                    MO
    169              Amanda                         H.                    IA
    175                Mary                         B.                    PA
    176              Jonathan                       B.                    PA
    179                Anna                         C.                    MS
    180                Garth                        C.                    MS
    181            Ruchitkumar                       P.                   AL
    182              Nidhiben                        P.                   AL
    183           Virendrakumar                      P.                   AL
    184              Deborah                        B.                    OH
    185               Edward                        B.                    OH
    187               George                        H.                    GA
    188             Kimberly                        G.                    MN
    189              Anthony                        G.                    MN
    191              Donovan                         J.                   NC
    192                Todd                         H.                    CA
    193               Heather                       Y.                    MI
    194               Carlton                       T.                    CA
    195               Arthur                         F.                   MD
    196               Theresa                        F.                   CA
    197                Sylvia                       C.                    FL

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                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
    198                Cyril                        M.                    FL
    199              Osvaldo                        M.                    FL
    200                Carol                        K.                    PA
    202               David                         K.                    IL
    203                Calin                        D.                    IL
    204                Louis                        R.                    CA
    205              Barbara                        R.                    CA
    206               Jeanne                         J.                   CA
    208                Todd                         C.                    NY
    209               Robert                         L.                   CO
    211                Lynn                         T.                    NV
    212               Shawn                          T.                   NV
    213               Patrick                       D.                    CA
    214               Samuel                        W.                    TN
    215                Mary                         W.                    FL
    216              Yolanda                        V.                    FL
    217              Timothy                        H.                    CA
    218               Kevin                          S.                   NC
    219              Douglas                        T.                    CA
    225                Todd                          S.                   IL
    226               Seyed                         N.                    PA
    227                 Eric                        Z.                    CA
    228                Susan                        D.                    CA
    229               Joshua                        V.                    TX
    230                John                          F.                   NC
    231                Dawn                         B.                    OH
    232               Cavett                         F.                   NM
    233               Jeffrey                       D.                    MA
    234                Lalith                       N.                    MA
    235               Arden                          I.                   CA
    238              Eleanor                        M.                    TX
    239              Zachary                         F.                   DC
    245              Cosmos                         N.                    CA
    246                Carol                        B.                    WI
    247                 Ella                        B.                    WI
    249                 Lisa                        R.                    RI
    250                 Jon                         L.                    MO
    251               Angie                         Y.                    CA

                                   Page 5 of 73
      Case 1:17-md-02800-TWT Document 900-4 Filed 12/05/19 Page 60 of 127
                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
    254               Robert                        R.                    OR
    255              Andrew                         Y.                    CA
    257                Adam                          S.                   CO
    258              Michael                        L.                    CA
    260               Nancy                         R.                   WV
    261              Dewayne                        R.                    KS
    262               Sharon                         L.                   CA
    263                Akiva                         L.                   CA
    266                 Juan                         P.                   FL
    267                 Brett                       B.                    CO
    268                 Kelli                       G.                    CO
    269             Christopher                     C.                    NC
    270                 Paul                        H.                    PA
    271                Derek                        W.                    CA
    273                Erica                         L.                   FL
    274              Katherine                      G.                    WI
    275                Frank                        G.                    WI
    277                James                         Z.                   OH
    278               Cynthia                       N.                    CA
    280                 Rosa                        E.                    TX
    281               Marcia                        H.                    CA
    282                 Perri                        S.                   GA
    283                Jesus                        H.                    CA
    284             Christopher                     H.                    CO
    285              Deborah                        H.                    CO
    286              Gregory                        W.                    CA
    287             Deeshawn                        D.                    NC
    288                Eboni                        C.                    NY
    289                 Jane                        W.                    OH
    291              Michelle                       D.                    CA
    292               Randall                       D.                    CA
    295                Derek                        L.                    NJ
    297                Bryan                        R.                    GA
    299              Andrew                          S.                   NJ
    300                 Paul                         I.                   NM
    301               Pamela                        G.                    CT
    302             Cassandra                       T.                    SC
    303              Thomas                         B.                    CA

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                          Timely and Valid Exclusions

JND Identifier      First Name         First Initial of Last Name   State/Province
    304                Amari                        D.                    NY
    305                Kevin                        M.                    NJ
    306              Katherine                      M.                    NJ
    308              Kimberly                        S.                   MO
    309               Robert                         S.                   MO
    311             Christopher                     R.                    TX
    312              Matthew                        Y.                    MD
    315               Rhonda                        Y.                    ME
    316               Walter                        Y.                    ME
    317              Danielle                       W.                    TX
    319              Jonathan                       M.                    NY
    320                  D                           S.                   CT
    322              Benjamin                        S.                   VT
    323             Nancy-Lea                        S.                   VT
    324               Andrew                        K.                    ID
    325              Lawrence                        S.                   NY
    326               Cecilia                       K.                    NY
    327                Flaviu                       T.                    GA
    328              Matthew                        D.                    PA
    329                 John                        A.                    PA
    330               Patricia                      A.                    PA
    331               Michael                        S.                  WA
    332                Peter                        D.                    CA
    333               Roman                          S.                   CA
    334               Nerissa                       W.                    MD
    335               Steven                         S.                   MD
    336               Latisha                       D.                    MD
    339                  Yi                         B.                    NJ
    340                James                         S.                   CA
    342                 Jake                         F.                   CA
    344               Stephen                       G.                    SC
    345               Denise                         S.                   IL
    346              Solomon                        B.                    CA
    347                 Erin                        A.                    NC
    348               Denise                        K.                    WI
    349                Travis                       K.                    MN
    350                Lenae                        K.                    MN
    353                 Greg                        D.                    CA

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JND Identifier      First Name         First Initial of Last Name   State/Province
    354             Alexander                        Z.                   CA
    355               Charles                       A.                    VA
    356                 Judy                        A.                    VA
    357               Joshua                         F.                   IL
    359               Warren                        G.                    MO
    360                Grace                        G.                    MO
    361                Dawn                         K.                    TX
    363              Raymond                        V.                    VA
    364                Scott                        E.                    TX
    365               Clinton                       D.                    TX
    366                Alan                         R.                   WA
    367                Olga                          L.                   IL
    368               Daniela                       D.                    CA
    369              Frederick                      K.                    PA
    371              Katherine                      W.                    TN
    374               Ronald                        R.                    PA
    375                Karen                        L.                    PA
    376               Maurice                        S.                   NY
    377               Jeffrey                       M.                    MD
    378                 Mira                        H.                    IL
    379               Stephen                       H.                    IL
    381                Esther                       N.                    PA
    382                Flynn                        B.                    PA
    384                  Jed                        G.                    IL
    385                 Lisa                        G.                    IL
    386              Kaitlynn                       K.                    IL
    387              Matthew                        K.                    MN
    388               Steven                        K.                    MN
    389               Patricia                      K.                    MN
    392                Daniel                       W.                    AZ
    393                 Jade                         F.                   WI
    394               Clayton                        J.                   LA
    396               Richard                       Y.                    IN
    397               Edward                         S.                   IN
    398                Ruby                         H.                    IN
    399               Mathew                        B.                    TN
    400                Brent                        B.                    SC
    401              Samantha                       B.                    SC

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JND Identifier      First Name         First Initial of Last Name   State/Province
    402                 Joan                        C.                    PA
    403                Susan                        V.                    MA
    404              Jennifer                       R.                    TX
    405              Stephen                         S.                   TX
    407               Audella                        P.                   CA
    408              Michael                         P.                   NC
    409               Joseph                        A.                    NC
    410               Kevin                         B.                    TX
    412              Marilyn                         S.                   CA
    413              Andrew                         K.                    AZ
    417                Jacob                        B.                    MI
    418              Michael                        L.                    KS
    421              Katherine                      G.                    CA
    424                 Eric                        N.                    TX
    425              Florence                       W.                    TX
    427              Jennifer                       M.                    MI
    428               Brycia                        K.                    TN
    429                 Noel                         F.                   NV
    431              Jonathan                       B.                    CA
    433              Jennifer                       G.                    TX
    434                Justin                       K.                    SC
    435                Philip                       C.                    CO
    436              Kathryn                        K.                    CA
    437                Marci                        C.                    MI
    440               Robert                         L.                   PA
    441              Thomas                         H.                    TX
    442               Kevin                         C.                    VA
    443                 Katy                        G.                    CO
    444                 Ben                          P.                   CT
    445                James                        D.                    MD
    446               Jeffrey                        L.                   MI
    447               Roman                         C.                    NY
    448              Raymond                         S.                   HI
    449                James                        M.                    NY
    450              Gregory                        R.                    AK
    451              Michael                        W.                    MA
    452                 John                         F.                   NV
    454              Thomas                         M.                    PA

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JND Identifier      First Name         First Initial of Last Name   State/Province
    455              Kayleigh                       K.                    OR
    456           Vijayachandran                    N.                    AZ
    457                 Brian                       M.                    MA
    458               Thomas                        R.                    TX
    459              Michelle                       A.                    TX
    460                 Anita                       C.                    NV
    463                 Lane                        N.                    NY
    464                 Keith                        L.                   CA
    465                 Maria                       G.                    CA
    467            Karthiayani                      N.                    AZ
    468                 Alejo                       O.                    TX
    469                Nancy                        D.                    CA
    470                 Ivan                        L.                    AK
    472                 Elisa                       D.                    NC
    473               Richard                       L.                    NC
    474              Rebecca                         S.                   TX
    475                 John                        M.                    NC
    476                 Doris                       L.                    MO
    477              Rebecca                        M.                    AR
    478                 Sara                         L.                   IA
    480                 Kara                        H.                    MA
    481                Analia                       M.                    CA
    484                Donna                         F.                   MN
    485               Patricia                      G.                    CA
    486                Austin                       N.                    UT
    488                Jessica                       T.                   CA
    489               Melanie                       M.                    MD
    490                 Dana                        V.                    CT
    491                Muriel                       D.                    MO
    492               Christie                      C.                    ID
    494               Michael                       H.                    FL
    495               William                        S.                   LA
    496                Bernd                        K.                    TX
    497                 Rosa                        K.                    TX
    498               Jennifer                       S.                  WA
    500                 Hope                         P.                   PA
    501                 Jody                         P.                   CT
    502                 Lisa                         L.                   NY

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JND Identifier      First Name        First Initial of Last Name   State/Province
    504                 Eric                       L.                    CA
    505               Joshua                        S.                   CA
    508                Barry                       C.                    PA
    509               Henry                        H.                    MD
    510              Clarissa                       P.                   VA
    511              Thomas                         J.                   VA
    512               Elaine                       D.                    VA
    513                 Judi                       C.                    PA
    514               Cassie                       H.                    FL
    515               David                        C.                    UT
    516                 Igor                        J.                   NY
    517                Blake                        S.                   MD
    518              Frances                       K.                    CA
    520                Brian                        L.                   MO
    521               James                         S.                   SC
    522              Giuseppe                      N.                    NJ
    523               David                         J.                   CT
    524               Steven                       C.                    FL
    525               Monica                        Z.                   FL
    528                Dana                        B.                    TN
    529              Frances                       R.                    TN
    530              Edward                         S.                   NJ
    533                Nyia                        B.                    CA
    534              Xandria                        S.                   CA
    535              Michael                       M.                    CA
    536             Constance                      W.                    CA
    537                Beth                        H.                    SC
    538              Kenneth                       H.                    SC
    539                Irene                       D.                    CA
    540                Jason                       D.                    CA
    541               Jessica                      B.                    NC
    542               Joshua                       B.                    NC
    544              Matthew                       C.                    PA
    546               Carole                       R.                    MD
    547               David                        G.                    WI
    548                Laura                       G.                    WI
    549              Jennifer                      D.                    MN
    550               Logan                         S.                   PA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    551               Jeffrey                      M.                    SC
    552                Mary                        M.                    SC
    553               Jacinth                      M.                    GA
    554                 Jerry                       J.                   NC
    555               Nicole                       M.                    CA
    556               Steven                       A.                   WA
    559              Rachelle                      A.                   WA
    560                Justin                      D.                   WA
    561               Nicole                       M.                   WA
    562                Chris                       B.                    AZ
    563               Victoria                     B.                    AZ
    564                Renee                        S.                   IL
    565                James                       M.                    CO
    566                Nikki                       V.                    CA
    567               Marvin                       V.                    CA
    570                Myah                        M.                    CA
    571                Brian                       B.                    MI
    572              Stephanie                     G.                    IN
    574              Shannon                       W.                    MI
    575                Brian                       B.                    IN
    576               Raynell                       S.                   HI
    577               Verilla                       J.                   IN
    579                 Gary                       G.                    CO
    580                Mark                        D.                    TX
    581                Adam                        R.                    CA
    582                 Lena                        S.                   CA
    583                 Gary                        S.                   CA
    584              Jonathan                       L.                   NY
    587                Curtis                      B.                    NC
    588               Douglas                       S.                   NY
    589                Rami                        H.                    TX
    590               Barbara                      B.                    NY
    591             Annabelle                      G.                    WI
    592                Mary                        K.                    MD
    593                Keith                       K.                    MD
    594                  Ilya                      B.                    MO
    595               Lavinia                       S.                   MO
    601               Robert                       Y.                    VA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    602                Jason                       G.                    CA
    603                Liliya                      G.                    CA
    604                Minh                        M.                    CA
    605               Tiffany                       J.                   CA
    606               Ashwin                       K.                    VA
    607               Ricky                         F.                   NC
    609                Radi                        D.                    DC
    610               Dustin                        S.                   MN
    611                Ethan                       H.                    PA
    612               Noora                         S.                   PA
    613               Melissa                      H.                    TX
    614                Sarah                       B.                    CA
    616              Deborah                       W.                    NC
    617                Katie                       C.                    NC
    618               David                        D.                    CO
    620              Jonathan                       S.                   AZ
    621               David                         S.                   TX
    622              Michael                       D.                    NJ
    623                 Lisa                       B.                    NY
    624              Lindsay                       G.                    PA
    625               Nathan                       G.                    PA
    629                Terry                       D.                   WA
    632                 Jill                       B.                    NY
    634                Sarah                       H.                    WI
    635              Michael                       K.                    SC
    636              Charlotte                     R.                    IL
    639                Luisa                        S.                   OR
    641              Angelina                      R.                    CO
    642               Rajesh                        S.                   IL
    643              Michael                       H.                    TN
    645               Sylvia                       A.                    NJ
    647               Casey                        N.                    VA
    648               Natalie                      C.                    VA
    649               Diane                        H.                    TN
    650                 Neil                        J.                   CA
    651                Lynn                        C.                    PA
    652               Robert                       K.                    NY
    653               Sharon                       G.                    CO

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JND Identifier      First Name        First Initial of Last Name   State/Province
    655                Fulvie                      N.                    FL
    657             Christopher                    B.                    GA
    658               Michael                       F.                   CA
    659              Jacquelyn                     D.                    MD
    661                Thien                       N.                    CA
    664                 Eric                       C.                    FL
    666               Vanessa                      R.                    OR
    667                Casey                       R.                    OR
    668                Kevin                       C.                    CA
    670               Debbie                       K.                    PA
    672              Raymond                       W.                    NY
    673               Marina                       H.                    CA
    674                Debra                       M.                    CA
    675               Rochelle                      J.                   CA
    676              Christina                     M.                    CA
    678                Angel                       M.                    CA
    679                Sarah                       M.                    TX
    680                 Dane                       T.                    MI
    681               Thomas                       H.                    VA
    682             Constance                      H.                    VA
    683                Robert                      C.                    MA
    684               Antoine                      A.                    TX
    686                 Erika                       E.                   ID
    687                 Seth                       E.                    ID
    688               Stefanie                      L.                   TX
    689                Leroy                        J.                   TX
    690                 Scott                      A.                    MO
    691                Judith                      W.                    VA
    693                 Sheri                       S.                   KS
    694               Richard                      M.                    NC
    695                Jenny                       B.                    TX
    696                 Jesse                      B.                    TX
    699               Michael                       P.                   OK
    702               Timothy                      L.                    FL
    703                Patrick                     G.                    OR
    704               Valerie                      G.                    OR
    705                Emma                        B.                    TX
    706               Thomas                        J.                   SC

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JND Identifier      First Name        First Initial of Last Name   State/Province
    707                Mark                         S.                   TX
    708              Rodney                         P.                   NM
    709                Mary                        G.                    CA
    710               Lizann                       R.                    TX
    711              William                       R.                    TX
    712               Alison                       B.                    IL
    713             Alexander                      W.                    RI
    714              Chelsea                       B.                    CA
    715              Rebecca                       B.                    CO
    716              Kimmery                        F.                   NC
    717                James                        F.                   NC
    718              Christine                     N.                    CO
    719               Joseph                        J.                   MD
    720               Kirsten                      M.                    HI
    721                  Ian                        L.                   HI
    722               Nancy                        B.                    AR
    723                Bruce                       D.                    KY
    724               Elaine                       D.                    KY
    725               Mitchel                       S.                   MN
    726              Cynthia                       H.                    NC
    728               Rachel                        F.                   TX
    729               Alfred                       Y.                    CA
    730                Gallia                       L.                   CA
    732              Virginia                      M.                    GA
    733                 Sue                        K.                    OH
    734                 Kara                       W.                    AZ
    735                 Paul                        S.                   MA
    737               Robert                        J.                  WA
    738               Denise                        J.                  WA
    739               Sandy                         S.                   CA
    740               Phillip                       S.                   CA
    741              Clifford                       S.                   CO
    742               Patricia                     M.                    CO
    743                David                       B.                    SC
    744                 Rose                       B.                    SC
    746                Keith                       B.                    IL
    748               Kristan                      A.                    CA
    749                Diana                       A.                    CA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    750               Jarrod                       W.                    AZ
    751             Elizabeth                      B.                    MD
    753              Jonathan                      O.                    FL
    754             Katherine                      C.                    CA
    755                Denis                       B.                    CA
    756            Bangphuong                      N.                    CA
    757                John                        D.                    CA
    758               Marsha                        Z.                   MD
    760              Deborah                       K.                    NY
    762                Amy                         T.                    VA
    763                 Sol                         T.                   VA
    764               Steven                       D.                    MD
    765                Gino                        H.                    FL
    766               Daniel                       R.                    TN
    767                Tracy                       R.                    TN
    768               Nancy                        B.                    UT
    771                 Dale                        P.                   HI
    772                Brian                       R.                    CA
    773               Daniel                       E.                    MN
    774              Christina                      J.                   IN
    777               Kishya                       M.                    NC
    778              Kathleen                       S.                   MA
    779               George                       Z.                    PA
    780                John                        K.                    IN
    781                Elise                       R.                    MN
    782               Hunter                        J.                  WA
    783              Suzanne                       Y.                    NY
    784               Russell                       S.                   CA
    785              Suzanne                       B.                    CA
    786               Joseph                       B.                    CA
    787             Emmanuel                       G.                    NY
    788                Layne                       W.                    VA
    789               Marvin                       T.                   WA
    790               Cynthia                       T.                  WA
    792             Constance                      M.                    TX
    793               Ronda                        H.                    NH
    794                  R.                        H.                    NH
    795              Matthew                       D.                    MO

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JND Identifier      First Name        First Initial of Last Name   State/Province
    796               Brenda                       D.                    MO
    797               Sunday                       B.                    SC
    798               Richard                      M.                    MD
    800                 Kurt                       G.                    VA
    801               Whitney                      G.                    VA
    802                 Ryan                       Y.                    OH
    803               Eleanor                      G.                    NY
    804                Nancy                       E.                    SC
    805                 Susan                       S.                   MN
    806               Michael                      G.                    CT
    808                Jordan                      R.                    MN
    809                  Jane                      G.                    CT
    810              Seungmin                      C.                    CO
    811                 Brian                      B.                    CO
    812               Charles                      M.                    MN
    813                 Craig                      H.                    MI
    814               Brigette                     H.                    MI
    816               Esteban                      O.                    TX
    818                Jessica                     Y.                    CA
    819             Christopher                    M.                    CA
    820               Malathy                      K.                    TX
    821                Rajesh                      K.                    TX
    823               Sharon                        T.                   PA
    824                Joseph                       I.                   NC
    825             Kristopher                     H.                    NC
    826                 Gary                       R.                    GA
    827                 Dale                       W.                    DE
    830                 Holly                      B.                    VA
    831                Conor                       C.                    NY
    832              Nicholas                      A.                    CA
    833               Destinie                      S.                   CA
    835                Diogo                       M.                    UT
    837               George                        J.                   TX
    838               Summer                       B.                    TX
    840                 Julia                       L.                   FL
    841                Wayne                        L.                   FL
    842                Joanne                       S.                  WA
    847                Amber                       R.                    IN

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JND Identifier      First Name        First Initial of Last Name   State/Province
    848               Hubert                       G.                   WA
    849              Michael                       T.                    WI
    851               David                         P.                   GA
    852               Phyllis                       S.                   AE
    853                 Troy                        S.                   AE
    854             Aleksandra                     L.                    CA
    855               Joanna                       L.                    MD
    856               Ramin                        A.                    FL
    857                 John                       W.                    MD
    858               Raquel                       W.                    MD
    859               Robin                        N.                    CO
    860                James                       C.                    CA
    861                Laura                       C.                    DE
    862              Michelle                      M.                    MD
    863               Rachel                       K.                    NY
    864              Avraham                       K.                    NY
    865               Chava                        K.                    NY
    867             Genevieve                      W.                    FL
    868              Douglas                       B.                    ME
    873               Angela                        L.                   NY
    874              Margaret                       F.                   NJ
    876              Mitchell                      H.                    CA
    877              Darlene                       H.                    CA
    879                Anna                        D.                    NJ
    880              Anthony                       G.                    CO
    882               Dianne                       G.                    AK
    883             Emanuela                        S.                   OR
    884                 Glen                       W.                    TX
    886               Jeffrey                      N.                    MD
    888               Joseph                       G.                    NJ
    889               Juanita                      L.                    FL
    890                Laura                       W.                    TX
    891                Leslie                      N.                    CO
    892                 Lisa                       M.                    MD
    893               Marty                        K.                    WI
    894              Michael                       G.                    MI
    895                Peter                       R.                    NY
    896               Phillip                      L.                    OR

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JND Identifier      First Name        First Initial of Last Name   State/Province
    898              Raynold                        I.                   NJ
    899               Robert                       C.                    NY
    900               Shayna                       W.                    KS
    901               Sophie                        P.                   PA
    902                Syed                        A.                    FL
    903                Tayva                       H.                    FL
    905              Thomas                        O.                    CO
    907                 Rita                       T.                    PA
    908                 John                       L.                    DE
    909                  Joy                       L.                    DE
    910               Deidre                        P.                   NY
    911               Robert                        P.                   NY
    912              Kimberly                       S.                   PA
    914               Robert                       M.                    TX
    915               Patricia                     M.                    TX
    916              Meghan                        B.                    MA
    917              Benjamin                      N.                    MA
    919               Janeen                       O.                    NY
    920                Janey                        J.                   VA
    921                Paula                        J.                   VA
    922               Jessica                       J.                   VA
    923              William                        J.                   FL
    924                Mary                        W.                    FL
    925                 Lori                        S.                   AZ
    926                 Zary                        S.                   AZ
    927                David                       B.                    WI
    928               Megan                         S.                   PA
    930                Bryan                       G.                    PA
    931                Mary                        D.                    VA
    935                 Lyla                       B.                    MN
    937               Ashley                        S.                   GA
    938               Sharon                       M.                    TX
    939                 Pete                        I.                   TX
    941               Angela                        J.                   TX
    942                David                        J.                   TX
    944                Angy                        B.                    FL
    945                Linda                        S.                   NY
    947                 Paul                       B.                    MA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    948                James                       W.                    PA
    949               Varujan                      G.                    CA
    950                Aaron                       C.                    FL
    951               Andrew                        S.                   CA
    952               Frances                      C.                    MI
    954                Maria                       C.                    CA
    957               Mischa                       B.                    KS
    958                Dahlia                       L.                   NY
    959                Betty                       L.                    NY
    963              Deborah                       G.                    NJ
    964                Brian                        T.                   MD
    965              Marshall                       S.                   CA
    967               Michael                       S.                   TX
    968                 Lan                         T.                   CA
    969                Chyrl                       N.                   WA
    970               Stephen                      R.                   WA
    971                Diana                       R.                   WA
    974               Richard                      L.                    GA
    975                Sarah                        L.                   GA
    976               Zachary                      L.                    GA
    977                Erica                        L.                   GA
    978                Adam                         L.                   GA
    981                 Jose                       M.                    GA
    982                 Kurt                        S.                   MI
    983                 Amy                        H.                    PA
    984               Richard                       J.                   PA
    985               Andrew                        S.                   CA
    986               Fredric                       I.                   IL
    987               Rebecca                      R.                    FL
    988                 Jane                       K.                    CA
    989               Herbert                       J.                   CA
    990              Stephanie                      T.                   NJ
    991               Michael                      B.                    TN
    992               Connie                       G.                    NC
    993              Frederick                      S.                   MD
    994               Norman                       B.                    MI
    995               Douglas                      L.                    NJ
    996                Hosea                        I.                   SC

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JND Identifier      First Name        First Initial of Last Name   State/Province
     997             Andrew                         S.                  WA
     999               Jason                       H.                    IN
    1000              Heiddi                       B.                    MI
    1001             Elizabeth                     H.                    IN
    1003              Jeffrey                       P.                   MD
    1005              Marcus                        I.                   OH
    1006               John                        R.                    NY
    1008                Ela                         J.                   GA
    1009              Charles                      K.                    NJ
    1012             Michael                       V.                    MA
    1013               Jasel                        J.                   GA
    1014             Margaret                      A.                    VA
    1015              Shiloh                       M.                    CA
    1017               Mark                        A.                    NH
    1018               Jason                       D.                    MA
    1019              Bhavna                       G.                    CT
    1020              Jessica                      D.                    PA
    1021              Daniel                       R.                    NH
    1022               Holly                       A.                    NH
    1023               Dawn                         S.                   FL
    1024              David                         F.                   OR
    1026             Dovjosef                      A.                    CA
    1027             Matthew                       L.                    PA
    1028              Charles                      A.                    MD
    1029             Stephen                       G.                    KY
    1030             Timothy                       B.                    PA
    1031              Cindy                        B.                    PA
    1034            Chauncey                       C.                    MD
    1035             Willette                      B.                    VA
    1036              Tervin                       C.                    MD
    1037            Ashawnte                       W.                    VA
    1038                Jill                       G.                    RI
    1041             Michael                       H.                    RI
    1042              Miriam                       K.                    PA
    1043              Daniel                        S.                   VA
    1044             Thomas                        W.                    NJ
    1046              Sergey                       M.                    VA
    1047              Natalie                       P.                  WA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1048              Andrea                       C.                    FL
    1049               Jason                       C.                    FL
    1050             Benjamin                      M.                    OK
    1051               Paula                       M.                    OK
    1052                Paul                       B.                    CO
    1053               Krista                       J.                   AL
    1054                Jan                         S.                   MI
    1055             Rebecca                       W.                    TX
    1056              Steven                        S.                   CA
    1057               Debra                        S.                   CA
    1058              Patricia                     T.                    DC
    1059               Bruce                       B.                    CA
    1060             Elizabeth                     B.                    CA
    1061              Sandra                        S.                   MI
    1062             Marianna                      K.                    CA
    1064               Brian                       B.                    NC
    1065               Frank                        I.                   NY
    1066               Alan                        G.                    MI
    1067                Paul                        J.                   SC
    1068              Wayne                        C.                    CO
    1070               Kevin                       G.                    TX
    1071                Sera                       G.                    TX
    1072              Brooke                       G.                    UT
    1073              Shaun                        G.                    UT
    1075              Richard                      W.                    NM
    1076              Tatiana                      W.                    TX
    1077              Daniel                       W.                    TX
    1079             Michael                        P.                   VA
    1080               Cory                        H.                    SC
    1081             Kathleen                      D.                    SC
    1082              Robert                       H.                    SC
    1083              Tracee                       C.                    AZ
    1084             Elizabeth                      J.                   AZ
    1085             Catherine                     G.                    NY
    1086            Christopher                    A.                    OK
    1087              Henry                        W.                    NY
    1088               Dale                        M.                    OH
    1089                Lisa                       N.                    IL

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1090              Tatiana                       T.                   NY
    1091               Sylvia                       S.                   VA
    1092             Stephanie                     A.                    DC
    1093              Barbara                      C.                    NC
    1094                Miles                      L.                    NY
    1097                Kelly                      B.                    CO
    1098                Lucia                      L.                    NY
    1100              Michael                       J.                   MI
    1101             Elizabeth                      T.                   MI
    1102             Benjamin                      B.                    CA
    1103              William                       J.                   NJ
    1104                 Sue                       D.                    FL
    1105              George                       D.                    MD
    1106                Sarah                       P.                   MD
    1107               Friday                      D.                    MA
    1108               Leroy                       D.                    FL
    1109               David                       N.                    PA
    1110                 Paul                      C.                    MA
    1111              Jennifer                     T.                    CA
    1112               Justin                      D.                    CA
    1113               Dalton                      C.                    PA
    1114               Joshua                       P.                   AZ
    1115               Hilary                       P.                   AZ
    1117               Matias                       S.                   TX
    1118               Danny                        S.                   KY
    1119                Jerry                       J.                   CA
    1120             Lawrence                      Y.                    CA
    1121                Jaime                      D.                    CA
    1122            Luzviminda                     D.                    CA
    1125                Brent                      H.                    CO
    1126                 Alec                      G.                    CO
    1127               Hibba                       H.                    KS
    1128              Michael                      H.                    AZ
    1133              Jennifer                     B.                    WI
    1137              Roberta                      W.                   WV
    1138                Greg                       W.                   WV
    1140             Francine                      B.                    ME
    1141              Geneva                       G.                    CA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1142              Donna                        O.                    MD
    1143              Robert                       B.                    ME
    1144              Calvin                        P.                   TN
    1145               Maria                       R.                    OH
    1148             Manolis                       D.                    CA
    1149               Paula                       B.                    FL
    1150              Karen                        K.                    FL
    1151              Joshua                       K.                    FL
    1152             Madeline                      K.                    FL
    1153               Jason                       B.                    GA
    1154              Sheryl                       B.                    GA
    1156               Mona                         S.                   KY
    1158               Steve                       B.                    AL
    1159             Amanda                         F.                   VA
    1160              James                         P.                   CA
    1161              Bonnie                        P.                   CA
    1162              Jessica                      T.                    CO
    1163             Tammie                        D.                    NC
    1164               Jason                       W.                    CA
    1166              Patrick                       J.                   NJ
    1167            Alexander                      M.                    OH
    1168             Stephen                       K.                   WA
    1169            Mohamed                        D.                    NC
    1170              Debra                        M.                    CA
    1172              Martin                       K.                    NY
    1173              Atoosa                       G.                    NY
    1175               Peter                       H.                    CO
    1178               Loree                        S.                   GA
    1179               John                         T.                   MN
    1180               Sarah                       T.                    MN
    1182             Christian                     N.                    MN
    1183               Asma                         J.                   NJ
    1184                Paul                       L.                    OR
    1185              Brenda                       Y.                   WA
    1186              Steven                       G.                    OH
    1188               Paula                       C.                    NC
    1189            Cassandra                       F.                   TX
    1190             Matthew                       G.                    TX

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1191              Justine                      N.                    CA
    1194              Richard                       J.                   VA
    1196              Michael                       S.                   VA
    1197               Lucy                        H.                    TN
    1198               Molly                       B.                    IL
    1199              Carlos                       O.                    CA
    1200             Francesca                     W.                    IL
    1201               Maria                       D.                    CA
    1202               Reem                         I.                   CA
    1203               Mary                        M.                    TN
    1204            Christopher                    G.                    OH
    1205               David                        E.                   NV
    1206              Edward                       B.                    NJ
    1207               Philip                       T.                   CO
    1208             Christina                      T.                   CO
    1209               James                       E.                    CT
    1211               Alicia                       J.                   CA
    1212                Tom                         S.                   VA
    1213                Guy                        V.                    TX
    1214             Anthony                        P.                   NY
    1215              Patricia                     C.                    WI
    1216              Michael                       F.                   VA
    1217              George                       T.                    CO
    1219             Naeshaun                      B.                    VA
    1220              Jayson                       K.                    NV
    1221                Lee                        K.                    IL
    1223               Jason                       M.                    PA
    1225               David                       G.                    CA
    1226               Aaron                       K.                    VA
    1227              Dennis                       L.                    FL
    1228               Maria                        L.                   FL
    1229              Megan                        H.                    MA
    1233              William                      R.                    CA
    1234              Sharon                       R.                    CA
    1235               Laura                        I.                   VA
    1236              Steven                        I.                   VA
    1237               Henry                       C.                    VA
    1238               James                       C.                    LA

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JND Identifier      First Name         First Initial of Last Name   State/Province
    1239              Jessica                       C.                    LA
    1240               Gene                         W.                    PA
    1242               Lynn                         M.                    NY
    1243               Mary                         T.                    PA
    1244                Carl                        G.                    VA
    1247               Glenn                         J.                   IL
    1248             Michael                        C.                    CO
    1253              Tommy                         H.                    AL
    1255              August                        M.                    CA
    1257             Jeremiah                       K.                    CA
    1259             Catherine                      K.                    IL
    1261              Arlene                        W.                    OR
    1262               Peter                        A.                    OR
    1263              Sarena                        B.                    OR
    1264                 Lee                        C.                    OR
    1265               Maria                        M.                    OR
    1269             Michelle                       O.                    GA
    1270               James                        O.                    GA
    1271               Betsy                        A.                    VA
    1272              Logan                         A.                    VA
    1275               Devin                         S.                   CA
    1276               David                         S.                   CA
    1278              Lauren                         L.                   NY
    1280              Felicia                        E.                   VA
    1281                John                        K.                    VA
    1282               Philip                       M.                    OH
    1283          Douglas-Emery:                    A.                    TX
    1286               Linda                        B.                    MA
    1287               Craig                         S.                   ND
    1288                Dale                         T.                   PA
    1289                John                        H.                    PA
    1290               David                        D.                    NY
    1291             Michael                        L.                    GA
    1292             Douglas                        W.                    MA
    1293              Megan                         K.                    GA
    1296               David                         S.                   MA
    1297              Tanisha                       M.                    AZ
    1298               James                         S.                   MA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1299              Amber                         S.                   OH
    1300               Shari                       W.                    SD
    1302              Bobby                        G.                    TX
    1304              Russell                       J.                   MD
    1305             Sumitra                       C.                    CA
    1308               David                        L.                  WA
    1309                Kari                       L.                   WA
    1310             Margaret                      R.                    FL
    1311             Bradley                       G.                    FL
    1313              Nancy                        B.                    IL
    1315              Sandra                       M.                    NY
    1316                Eric                        L.                   NJ
    1317             Michael                       K.                    TX
    1318              Patricia                     R.                    PA
    1322                Eric                       B.                    MI
    1323            Christopher                    H.                    IN
    1325                Max                         P.                   NV
    1326                Ting                        P.                   NV
    1327             Christina                     A.                    NH
    1328              Trevor                       M.                    WI
    1331               Kelly                        J.                   IN
    1333               Maria                       R.                    FL
    1335              Louella                      L.                    PA
    1336               Jason                       G.                    MN
    1338                Paul                       R.                    FL
    1339             Michelle                      R.                    FL
    1340             Candice                       G.                    CA
    1341               Mark                        G.                    CA
    1342               Mary                        C.                    IN
    1345              Johnny                        S.                   TN
    1349               Jamin                        P.                   TX
    1350               Joyce                        S.                   TX
    1351              Daniel                       C.                    IL
    1352               Chad                         S.                   IL
    1353               Susan                       A.                    MA
    1354              Patricia                     A.                    FL
    1355             Michael                       G.                    FL
    1357             Matthew                       T.                    VA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1358              Donald                        S.                   IL
    1359              Richard                       J.                   VA
    1361                Ellen                       S.                   WI
    1362              Steven                        F.                   VA
    1364                Lisa                        S.                   MN
    1366              Darrell                      M.                    CO
    1367               Kellie                       F.                   MA
    1368             Abraham                       C.                    CA
    1369              Nicole                       C.                    FL
    1370               Doug                        K.                    MA
    1371              Patricia                     M.                    CA
    1372                Chad                        L.                   TX
    1373              Vincent                      L.                    CT
    1375             Wylenne                        T.                   MO
    1376               Jarrett                      J.                   NY
    1378               Carol                       W.                    FL
    1381             Christine                     G.                    FL
    1382               Stacy                        F.                  WA
    1383             Brandon                       H.                   WA
    1384               Vikki                       H.                    CA
    1385             Raymond                       R.                    OR
    1386             Jonathan                      R.                   WA
    1388              Randall                      B.                    NV
    1389               Hope                        B.                    NV
    1390              Yvonne                       L.                    NV
    1393             Gregory                       G.                    NV
    1395              Shelby                       H.                    NV
    1396               Laura                        F.                   NV
    1399             Vladimia                      K.                    NV
    1400              Robert                        F.                   NV
    1401             Christina                      S.                   NV
    1402              Andre                        G.                    NV
    1403               Buffy                       G.                    NV
    1404               Marie                       W.                    NV
    1406              Nancy                         P.                   NV
    1407              Valerie                      M.                    NV
    1408                Peter                       T.                   NV
    1409                Eric                        S.                   NV

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1410             Michael                        S.                   NV
    1411               Derek                        P.                   NV
    1412              Jerome                        S.                   NV
    1413               Julia                       M.                    NV
    1414               Paris                       M.                    NV
    1415               Emily                       M.                    NV
    1416               Glenn                        L.                   NV
    1418              Patricia                     L.                    MA
    1419               Dale                        W.                    MO
    1421               Larry                       B.                   WA
    1426                Kurt                       D.                    MD
    1427             Francine                      H.                    MD
    1428               Carol                        L.                   NC
    1431              Daniel                       H.                    NV
    1433               Diane                       M.                    TX
    1434               Carol                       R.                    TX
    1435              Robert                       R.                    TX
    1436              Sammy                         L.                   CA
    1437             Michael                        J.                   MA
    1438               Kerri                       G.                    MA
    1439               Carol                       K.                    DC
    1441             Jeremiah                      R.                    IL
    1442               Renee                       G.                    IL
    1443               Edith                        T.                   PA
    1444               Devin                        T.                   FL
    1445              Sherry                       R.                    FL
    1447             Andrew                        R.                    CA
    1448             Salvatore                      T.                   PA
    1450            Christopher                    M.                    PA
    1451             Thomas                        G.                    FL
    1455               Mary                        E.                    MD
    1458              Jimmie                        S.                   LA
    1459             Jonathan                      N.                    IL
    1462              Nathan                       B.                    MI
    1463             Michael                       B.                    NY
    1464             Timothy                       B.                   WA
    1465             Whitney                       B.                   WA
    1467             Anthony                       W.                    CT

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1468              Robert                        S.                   NY
    1469               Paul                         J.                   NY
    1470             Maxwell                       T.                    CO
    1471               Kevin                       C.                    CA
    1472              Jessica                      B.                    OK
    1473               Mark                         P.                   VA
    1474                Erik                       K.                    MD
    1475               Leon                        H.                    CA
    1476              Zelimir                       L.                  WA
    1480              Joshua                        S.                  WA
    1481              Martin                       B.                    MD
    1482              Vivian                       B.                    MD
    1483              Bradley                      C.                    MI
    1487               Mary                         S.                  WA
    1489               Candi                       R.                    TN
    1490              Marion                        F.                   SC
    1491              Donna                         J.                   TX
    1494               David                       O.                    CA
    1496             Mitchell                      B.                    OK
    1497             Katherine                     M.                    CO
    1501              Robert                       C.                    NC
    1503             Thomas                        N.                    UT
    1504              Daniel                        P.                   DC
    1507               Sonia                       T.                    IL
    1508              Robert                        T.                   IL
    1509               Brett                       C.                    PA
    1510            Magdalena                      B.                    CA
    1511               Jack                        N.                    NY
    1512            Alexander                       F.                   NJ
    1513              Lauren                        F.                   NJ
    1516              Martha                       K.                    MD
    1519                Carl                       W.                    OR
    1521             Amanda                        E.                    NJ
    1525               Bryn                         F.                   CO
    1527             Caroline                       P.                   PA
    1528              Cheryl                       R.                    MD
    1530             Christine                     A.                    NY
    1531             Christine                     D.                    MO

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1532                Clark                      H.                    MN
    1534               Daniel                      H.                    MN
    1535               David                       H.                    VA
    1536             Demonta                       R.                    TX
    1538               Diane                       M.                    AZ
    1539              Douglas                      D.                    MO
    1545               Ginger                      H.                    UT
    1546                Holly                       P.                   VA
    1547                Hope                       G.                    IL
    1548            Jacqueline                      S.                   NV
    1549               James                       B.                    NV
    1552              Jennifer                     M.                    HI
    1554                Joel                       V.                    NV
    1556               Joseph                      B.                    NV
    1557             Josephine                     D.                    TX
    1559                Juan                       R.                    NV
    1563                Kim                        R.                    NC
    1566             Lawrence                      Y.                    CA
    1568               Linda                       B.                    PA
    1569               Linda                        S.                   NV
    1570               Linda                       D.                    GA
    1572                Lisa                        L.                   MN
    1576               Luther                      C.                    CA
    1578              Maggie                       Y.                    CA
    1584                Mary                       D.                    NJ
    1586              Mathew                        S.                  WV
    1587              Matthew                      G.                    IL
    1588              Matthew                       S.                   IL
    1589            Maximilian                     R.                    FL
    1590              Michael                      G.                    NV
    1591              Michael                      R.                    TX
    1592              Michael                      L.                    NY
    1593              Minerva                      G.                    IL
    1595            Omotinuke                       J.                   MD
    1598                Peter                      O.                    NV
    1600               Regine                      B.                    CA
    1601              Richard                       I.                   NY
    1602               Robert                      G.                    IL

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JND Identifier       First Name            First Initial of Last Name   State/Province
    1603               Rochelle                          S.                   NV
    1604                Sandra                          M.                    AZ
    1605               Sanford                          B.                    NV
    1607                Shawn                           W.                    MN
    1608                Sheila                          C.                    SC
    1609                Shelly                           S.                   MT
    1610               Stanley                          B.                    OH
    1612               Stephen                          D.                    NJ
    1614               Takeshi                          N.                    NC
    1615               Tamera                           C.                    GA
    1616                  Ted                           C.                    NV
    1617               Thomas                           D.                    GA
    1618               Timothy                           J.                   HI
    1619               Timothy                          C.                    AZ
    1620               Tommy                            D.                    TX
    1621                Tracey                          W.                    NV
    1623               Vanessa                          U.                    FL
    1624                 Vicki                           F.                   TX
    1625             Wenceslao                          M.                    NV
    1626               Zachary                           P.                   VA
    1628              Alexander                         H.                    NY
    1631                Connie                          C.                    TX
    1632                Emily                            P.                   ME
    1633                  Eric                          N.                    FL
    1635                Francis                         W.                    NY
    1640                Terrie                           S.                   TX
    1641              Theodore                          R.                    TN
    1643                David                           K.                   WA
    1646                 Amy                             T.                   NY
    1650                 Celia                           S.                   VA
    1651             Christopher                        A.                    SC
    1652         Christopher-Michael                    N.                    CA
    1653                 Craig                          G.                    CA
    1655                Jeffrey                         H.                    NY
    1656                 John                            T.                   CA
    1659               Kathleen                         D.                    FL
    1660                 Linda                           T.                   CA
    1663              Randolph                          W.                    CA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1665              Rhonda                       W.                    OK
    1666              Robert                       A.                    NY
    1667             Samantha                      A.                    SC
    1668              Tingkit                      M.                    CA
    1669              William                      W.                    CT
    1670             Adrienne                      C.                    DE
    1671             Alejandro                     G.                    GA
    1675              Bonnie                       H.                    PA
    1677               Brian                        P.                   PA
    1678               Chris                       K.                    FL
    1680               David                       R.                    IL
    1681             Deborah                        S.                   AK
    1682                Eric                        S.                   MA
    1683               Hans                        K.                   WA
    1684             Jefferson                      I.                   LA
    1689              Kristin                      C.                    CO
    1695              Mathew                       G.                    DC
    1696             Matthew                       W.                    HI
    1697               Paul                         F.                   TX
    1699              Robert                       A.                    NC
    1700               Sarah                       W.                    TX
    1701             Shawntay                       F.                   DE
    1702              Shayna                       K.                   WA
    1703              Steven                       Y.                    AK
    1704               Teala                       C.                    NV
    1705             Timothy                       K.                    MI
    1706              Tonya                        K.                    FL
    1707              Tyesha                       D.                    CA
    1709              Akeem                        R.                    GA
    1710               Akili                       D.                    NV
    1711               Alan                        B.                    NC
    1713               Anna                        H.                    FL
    1715            Christopher                    M.                    NC
    1720              Dennis                       E.                    OR
    1721              Dennis                       M.                    IA
    1722              Donald                        P.                   TX
    1724               Dugal                       U.                    FL
    1725               Enric                       R.                    CA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1726              Gerald                       G.                    ID
    1727              Gregory                      K.                    NY
    1729               James                       E.                    NV
    1730                Jana                        P.                   CA
    1731               Jason                       K.                    NV
    1733                 Joe                       C.                    KS
    1736             Katharine                      S.                   TX
    1738              Laiken                       G.                    CA
    1740              Lindsey                      G.                    AZ
    1741              Lorilee                      D.                    OK
    1743              Marilyn                      E.                    OR
    1744               Mark                        W.                    AZ
    1745             Matthew                       K.                    VA
    1749              Patricia                     C.                    FL
    1750                Paul                        S.                   OH
    1751                Paul                        P.                   IL
    1753              Ramona                       C.                    CA
    1755                Rex                         F.                   MO
    1758                Sam                         P.                   CO
    1760                Sean                        S.                   IL
    1762               Stacey                      C.                    NV
    1764             Stephanie                     B.                    NV
    1765              Steven                       B.                    NC
    1767              Thomas                       B.                    CA
    1768              Thomas                        S.                   TX
    1770               Velma                       W.                    NC
    1771             Veronica                       S.                   IL
    1772             Yonatan                       N.                    CA
    1774                Amy                        B.                    MN
    1776              Bethany                       S.                   DC
    1778              Clenery                      M.                    IL
    1780               Jason                       R.                    CA
    1783             Kimberly                       S.                   CO
    1786               Mark                        L.                    FL
    1787              Maryse                       R.                    MO
    1788             Meredith                      O.                    VA
    1789              Mustafa                      A.                    NJ
    1792              Robert                        S.                   TN

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1793               Ryan                         P.                   MN
    1794              Samuel                        P.                   MT
    1795            Alexandra                       P.                   MI
    1796              Aurelia                       P.                   MI
    1797               Brian                       R.                    PA
    1798                Eric                        P.                   ID
    1799                Gail                        T.                  AR
    1801              Gregg                        D.                    PA
    1802               James                       L.                    MI
    1807             Veronica                       P.                   ID
    1809               Claire                      T.                    VA
    1812              Debra                         F.                   MN
    1813              Debra                        M.                    VA
    1814               James                       D.                    MA
    1816             Jennifer                      L.                    NV
    1818               Mary                        M.                    IL
    1819             Matthew                        S.                   CA
    1820            Meeyoung                       L.                    OK
    1821              Robert                        F.                   MN
    1822               Scott                       L.                    OK
    1823              Sergiu                        P.                   MI
    1825             Susanne                       G.                    TX
    1826              Victor                       M.                    NV
    1827             William                       R.                    OH
    1828              Alaric                       C.                    NV
    1830              Anoni                        H.                    CA
    1832               Barry                       H.                    NV
    1833              Chanell                      B.                    NJ
    1834             Christina                      S.                   NV
    1835            Christopher                     T.                   NY
    1837             Douglas                       C.                    NV
    1838             Enrique                       H.                    CA
    1839               Erica                        Z.                   VA
    1840             Ernestine                      E.                   CA
    1842              Gerard                        P.                   IN
    1845              Jeffrey                      W.                    NY
    1849              Kaylin                       M.                   WA
    1852              Lillyan                      G.                    NV

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1854               Marco                       D.                    CA
    1855              Robert                       C.                    PA
    1859              Wendy                        W.                    NY
    1862               Carol                       B.                    PA
    1863               Carol                        E.                   NC
    1864            Christopher                    G.                    CA
    1865               Daniel                      K.                    VT
    1869             Elizabeth                      F.                   CA
    1871               Evan                        H.                    NY
    1872            Feei-Ching                     C.                    NY
    1874              George                       N.                    AZ
    1875                Hui                        N.                    IN
    1876               Jabari                       S.                   GA
    1877                Jack                       N.                    NY
    1881               Jenna                       W.                    CA
    1885             Jonathan                      T.                    TX
    1886              Joseph                       D.                    NJ
    1890                Julia                      M.                    CO
    1891             Katherine                     K.                    GA
    1892              Kelsea                       K.                    NV
    1893             Kikelomo                      B.                    TX
    1894              Krystal                      A.                    AL
    1896                Kyle                       M.                    CO
    1898               Liam                         S.                   CA
    1899                Lisa                       R.                    FL
    1900               Mark                        G.                    IN
    1901              Marvin                       K.                    GA
    1902             Maryland                      V.                    VA
    1903              Nekeya                       O.                    KS
    1904              Oksana                       G.                    CA
    1905              Pamela                       R.                    VA
    1906                Paul                       R.                    FL
    1907                Paul                       W.                    CA
    1908              Phyllis                      H.                    VA
    1910              Reagan                       W.                    CA
    1911              Robert                       W.                    SC
    1914              Sharon                       K.                    PA
    1915              Stephen                       S.                   MA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1916               Steven                      O.                    PA
    1917             Thomas                        U.                    CO
    1919             Jayeong                       Y.                    UT
    1920              Johmeil                      M.                    NY
    1922                Max                         P.                   OK
    1923              Ronald                       N.                    MA
    1925               James                       W.                    MA
    1930                Mark                        P.                   SC
    1931                Oleg                       B.                   WA
    1932               Robert                      O.                    OR
    1933               Sarah                       D.                    GA
    1934               Sarah                       W.                    IL
    1935               Yujin                       K.                    TX
    1938              Braven                       M.                    FL
    1941              Damon                        R.                    NV
    1944             Ekaterina                      S.                   PA
    1945                Evan                       O.                    CA
    1946               Gavin                        S.                   MS
    1947             Geoffrey                      M.                    CA
    1948             Gregory                       K.                    CA
    1951                Ilya                        S.                   PA
    1953                John                        S.                   VA
    1954                Julia                      R.                    FL
    1957              Midori                       K.                    NY
    1960             Riwanto                       M.                    NY
    1965               Steven                      W.                    VA
    1966                Trina                      D.                    CA
    1967              Valarie                       S.                   NY
    1968                Carla                      R.                    TX
    1969              Cristina                     W.                    FL
    1970                Dax                        K.                    CA
    1971             Douglas                        T.                   NC
    1972             Gregory                       H.                    OH
    1973               Jason                        P.                   TX
    1974             Jennifer                       J.                   NY
    1975             Katherine                     B.                    VA
    1977                Peter                       I.                   VA
    1978                Sean                       T.                    FL

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JND Identifier      First Name        First Initial of Last Name   State/Province
    1979              Sherrie                      H.                    OH
    1982             Richard                       K.                    NH
    1983              Robin                         P.                   MI
    1984               Karl                         P.                   MI
    1985               Daryl                       D.                    TN
    1986              Sherry                       D.                    TN
    1987              Bryan                        D.                    IN
    1988              Deloris                      D.                    NC
    1989              Daniel                       H.                    FL
    1990             Andrew                        R.                    SC
    1991            Christopher                    C.                    NE
    1992              Darian                       D.                    NJ
    1993               Gary                         S.                   PA
    1995              Francis                      O.                    CT
    1997              Charles                      C.                    NY
    1999               Bruce                       H.                    NC
    2000             Marilyn                       H.                    NC
    2001               Nora                        M.                    OH
    2002              Horace                        J.                   OH
    2003               Tuan                        L.                    NJ
    2004             Viviana                       T.                    NJ
    2005               Peter                        F.                   TX
    2006             Cynthia                        T.                   VA
    2009               John                         F.                   FL
    2010               Paul                        R.                   WA
    2011               Jona                        H.                    KY
    2012             Maryland                      V.                    NY
    2013               Ryan                        R.                    OR
    2015              Sandra                       H.                    NJ
    2016               Bette                        T.                   NC
    2017              James                        D.                    FL
    2019              Robert                       B.                    TX
    2020              Dianne                       M.                    CA
    2021            Christopher                    M.                    IA
    2022              Leslie                       B.                    CA
    2023              Connie                       M.                    FL
    2025              Kweku                        B.                    MD
    2026            Jacqueline                     C.                    NJ

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JND Identifier      First Name        First Initial of Last Name   State/Province
    2027               Tracy                       M.                    MI
    2029               Jaime                       M.                    FL
    2030              Egidio                       G.                    FL
    2032               Nancy                       C.                    NJ
    2037                Sara                       K.                    MD
    2038              Stephen                      K.                    MD
    2044              Tommy                         J.                   TX
    2045               Sherri                      C.                    NV
    2046              Yansey                       D.                    NV
    2047              Adriana                      R.                    NV
    2048               Diane                       C.                    NV
    2050              Ashley                       L.                    NV
    2051              Martha                        L.                   NV
    2053               Scott                        S.                   NV
    2054               Nina                         S.                   NV
    2055               Scott                        F.                   NV
    2056              Daphne                       B.                    TX
    2057               Irene                       N.                    NV
    2058               Lance                       N.                    NV
    2059               Brian                       C.                    VA
    2060             Lawrence                      H.                    IL
    2061              Marshel                      H.                    IL
    2062              Barbara                      U.                    MO
    2063            Alexander                       E.                   FL
    2064               Corey                       M.                    NJ
    2065                Rex                         J.                   CA
    2066              Randall                      K.                    TX
    2067                Julie                      K.                    TX
    2068               David                       R.                    OK
    2070                Cara                       C.                    VA
    2071               Kevin                        L.                   OR
    2073             Yasemin                       A.                    NJ
    2074              Michael                      B.                    CA
    2075               Linda                        T.                   CA
    2076             Guochun                       L.                    MA
    2077               Beau                        B.                    CO
    2079              Ronald                        L.                   IN
    2080              Zachary                      M.                    GA

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JND Identifier       First Name           First Initial of Last Name   State/Province
    2081                Sasha                          M.                    GA
    2082               Yvonne                          W.                    TX
    2084                 Paul                          L.                    VA
    2085              Marjorie                         G.                    AZ
    2086                  Ali                           T.                   CA
    2087                 Troy                          D.                    OK
    2088            Christopher                        V.                    FL
    2089                Deron                          C.                    MO
    2090               Charles                          I.                   MA
    2091              Hershula                         D.                    SC
    2093               Jannine                          S.                   NH
    2094                Kasra                          H.                    MA
    2095                Mahsa                          H.                    MA
    2097               Kenneth                         M.                    UT
    2100               Richard                         B.                    MA
    2101                Nancy                          M.                    VA
    2102                Katrin                         K.                    NY
    2103                Stuart                          T.                   PA
    2107               Tamika                           J.                   CA
    2109              Roxanne                          E.                    NV
    2112                James                          H.                    NV
    2114              Roderick                         C.                    NV
    2117               Lauren                          D.                    MI
    2119               Randall                         R.                    OH
    2120               Sandra                          R.                    OH
    2122         Willie-Washington:                    W.                    NV
    2123              Kimberly                         W.                    NV
    2126               Leanne                          M.                    FL
    2127             Karl-Alan:                        M.                    FL
    2128               Marilyn                         G.                    FL
    2129               Joshua                          G.                    FL
    2130                James                          K.                    MD
    2131                Linda                          K.                    MD
    2132               Dmytro                           P.                   NY
    2133               Roberta                         R.                    CA
    2134              Nicholas                         A.                   WA
    2135                Chase                          M.                    SD
    2136                Peter                           J.                   CA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    2138              Robert                        J.                  WA
    2139              Chikita                       S.                   DC
    2140               Deepa                       B.                    CA
    2141             Nicolette                      S.                   CA
    2143            Rosemarie                      C.                    MI
    2145              Merion                        F.                   NV
    2146             Fortunato                      J.                   NV
    2148           Raynette-Lin                     F.                   NV
    2150             Michelle                      R.                    CA
    2151               David                       G.                    FL
    2152                Erin                       G.                    FL
    2153              Jessica                      M.                   WA
    2154              Joseph                       M.                   WA
    2157              Beverly                      H.                    IL
    2158                John                       R.                   WA
    2161                 Ivy                       M.                    UT
    2162            Jacqueline                     G.                    TN
    2163               Juliet                      D.                    MD
    2164               Colin                        S.                   MO
    2167               Akiko                       M.                    PA
    2169              Lucille                       P.                   MD
    2170             Matthew                        P.                   FL
    2173              Thomas                       M.                    FL
    2175              Cheryl                       W.                    CA
    2176               Linda                       H.                    TX
    2177               Linda                        P.                   CA
    2178              Rowene                       H.                    NY
    2179               James                       H.                    NY
    2180              Phoebe                       L.                    CA
    2181                Stan                       L.                    MA
    2182             Maureen                       A.                    PA
    2184             Kathleen                       T.                   MA
    2185                Paul                        S.                   CA
    2186                Jack                       M.                    NC
    2187              Darren                       A.                    FL
    2188                 Jim                       M.                    PA
    2190              Hitasha                      M.                    CA
    2191               Anna                        G.                    OK

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2192              Paria                        T.                    VA
    2195              Erica                        G.                    CT
    2196              Vicki                        H.                    WI
    2201              Vicki                         P.                  WY
    2202              Daniel                       T.                    UT
    2205               John                         L.                   CA
    2206               Firat                       G.                    OK
    2207              Diana                        L.                    CA
    2209             Anslem                        D.                    MD
    2210             Joseph                        R.                    OR
    2211              James                        W.                    FL
    2212               Faye                         S.                   SC
    2213             Dolores                       B.                    MI
    2214           Manikandan                      R.                    CA
    2215           Gandhimathi                     M.                    CA
    2218              Mansa                        B.                    MD
    2219              Mary                         T.                    MI
    2220               John                         S.                   TX
    2222             Patricia                      T.                    CA
    2224              David                         T.                   CA
    2225            Alexander                      C.                    MA
    2226             Zachary                       C.                    CA
    2227              Bryan                        B.                    GA
    2228               Shaa                        C.                    MA
    2229             Naomi                         R.                    KY
    2230             William                       R.                    KY
    2231             Jessica                        S.                   GA
    2232                Jon                        A.                    CO
    2233              James                         S.                   AZ
    2234             Robert                        B.                    HI
    2235              Elena                        E.                    NV
    2236             Martin                        H.                    IL
    2237             Alison                        B.                    CO
    2238             Mariann                        S.                   CO
    2239             Rodney                        H.                    UT
    2240             Sidney                        W.                    CA
    2244             Yolanda                       N.                    CA
    2245             Wilson                        C.                    CA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    2247                Tena                       G.                    CA
    2248              Steven                       M.                    CA
    2249              Sandra                       M.                    CA
    2250             Steffanie                     T.                    CA
    2251              Sabina                       A.                    CA
    2252             Richard                       N.                    CA
    2253                Raul                       B.                    CA
    2254              Monica                        S.                   CA
    2258               Linda                        S.                   CA
    2259              Junius                       N.                    CA
    2261                Eula                       D.                    CA
    2264               David                       A.                    CA
    2266             Cynthia                        J.                   CA
    2268             Christine                     Q.                    CA
    2269             Christine                     N.                    CA
    2272             Andrew                        R.                    CA
    2273               Alicia                      W.                    TX
    2274              Hamid                        M.                    MS
    2275            Rosemary                        F.                   FL
    2276               Todd                        N.                   WA
    2278               Kevin                        F.                   FL
    2282               Steve                       R.                    CO
    2284              Fatima                       R.                    NV
    2285                Fara                       R.                    NV
    2286                Felix                      R.                    NV
    2287              Dennis                       M.                    CA
    2289              Alexey                       T.                   WA
    2290              Jeremy                       A.                    CA
    2291              Sharon                       R.                    MO
    2292               Allen                       M.                    MN
    2293               Anna                        O.                    WI
    2294                Peter                      C.                    NH
    2296              Jerome                       G.                    MI
    2297               Judith                      G.                    MI
    2298              Haneef                       A.                    NJ
    2299              Daniel                       O.                    NY
    2300            Alibrando                       P.                   CA
    2301              Natalie                      N.                    CA

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JND Identifier      First Name        First Initial of Last Name   State/Province
    2302              William                      H.                    NY
    2303              George                       G.                    NY
    2305               Yusef                       A.                    PA
    2306               Hunter                       S.                   KY
    2307              Wesley                        S.                   KY
    2308              Jabrina                      B.                    IL
    2309                Mark                       B.                    CA
    2311             Francesca                     A.                    MA
    2312            Immaculata                     G.                    MA
    2313              Edward                         .                   MA
    2314                 Jose                      V.                    GA
    2317               Jeffrey                     D.                    CO
    2318               Kevin                       B.                    HI
    2319                 John                       J.                   OH
    2321              Suzanne                      O.                    NJ
    2322                Sarah                       S.                   TX
    2324             Laurence                       I.                  WA
    2325              Delight                      R.                   WA
    2327               Collin                      C.                    GA
    2329                Justin                     C.                    MA
    2330              George                        J.                   NC
    2331              Jeremy                       H.                    NY
    2333              Audrey                        J.                   NV
    2334               Darrel                       J.                   NV
    2336               Sergio                      V.                    NV
    2340              Ernesto                      C.                    NV
    2341              Lorenzo                       S.                   CA
    2342                Senja                      G.                    TX
    2343                Carol                      M.                    MA
    2344                 Karl                      G.                    CA
    2345               Gloria                       T.                   CA
    2346               Susan                       B.                    MN
    2347                 Eric                      W.                    MN
    2348                Zareh                       S.                   CA
    2351              Thomas                       M.                    PA
    2352               Cindy                       H.                    PA
    2355              Charles:                      J.                   FL
    2356                Brett                       J.                   NY

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JND Identifier      First Name        First Initial of Last Name   State/Province
    2359               Dana                        L.                    TX
    2360             Monique                        F.                   FL
    2361               Raivis                      K.                    CA
    2362              Sukaina                       S.                  WA
    2363            Christopher                    M.                    UT
    2364               Lynda                       M.                    UT
    2367             Hsiu-Wei                      L.                    CA
    2368              Pamela                       N.                    NC
    2369              Wesley                       H.                    OH
    2371               Tyree                       L.                    CA
    2373              Camille                      C.                    FL
    2374              Lynette                      C.                    FL
    2376             Jingquan                      L.                    NY
    2377                 Sai                        L.                   MI
    2378              Joseph                       B.                    CA
    2380                John                       C.                    PA
    2381             Nicholas                       S.                   MN
    2382              Cathryn                       S.                   PA
    2383               Lydia                       O.                    CA
    2384               Mario                       O.                    CA
    2385               Samar                        S.                   CA
    2387              Tamara                        J.                   OK
    2389              Steven                       A.                    OR
    2390               Janet                       A.                    OR
    2391             Brittany                      M.                    UT
    2393               Sohail                      A.                    NY
    2395             Kenneth                        S.                   AE
    2397               Mark                        E.                    TX
    2399               Karen                        F.                   LA
    2401               Justin                      D.                    MD
    2404             Christine                     R.                   WA
    2405            Christopher                    R.                    KY
    2408            Christopher                    R.                    CO
    2409              Angela                       W.                    MA
    2410            Aravinthan                      S.                   MA
    2412              Barbara                      N.                    NY
    2415               Heidi                       H.                    CA
    2416              Sharon                        T.                   CA

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JND Identifier      First Name         First Initial of Last Name   State/Province
    2417              Steven                        H.                    CA
    2418              Ronald                         J.                   CA
    2419              George                        K.                    MN
    2421             Nathaniel                       F.                   MA
    2424               Yulia                         P.                  WA
    2425              Robert                        C.                    OK
    2427              Marsha                        C.                    OK
    2428              Shontia                        J.                   FL
    2430              Margot                        R.                    MD
    2433               Dawn                          S.                   CA
    2434               Floyd                        T.                    CA
    2437              Maksim                         L.                  WA
    2438              Edward                         F.                   MI
    2441               Brian                        H.                    OH
    2443                Clay                        B.                   WA
    2445               Diana                        A.                    PA
    2448               James                         F.                   PA
    2449               James                        M.                    TX
    2450               James                         F.                   TN
    2452                John                        C.                    AZ
    2453                Julie                        E.                   TN
    2454                Ken                         O.                    MO
    2455                Lisa                        M.                    PA
    2458               Minal                        G.                    OK
    2459              Richard                       E.                    VA
    2460               Ruby                          F.                   PA
    2461              Shawn                         R.                    AR
    2462             Stephanie                       F.                   PA
    2464              Vincent                       B.                    NV
    2465              Vishal                        G.                    OK
    2466              Charles                       D.                    ID
    2467               Bryan                        K.                    KS
    2469               Noah                          S.                   OH
    2472              William                        F.                   CA
    2473             Jonathan                       W.                    TN
    2475          Richard-Leroy:                     J.                   CA
    2477             Christian                       F.                   PA
    2478              Shaina                         P.                   NV

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2480            Michael                         P.                   IL
    2481             Cedric                        E.                    FL
    2482              Karen                        B.                    MD
    2483            Stephen                        H.                    NC
    2484              Susan                        H.                    NC
    2485            Henrietta                      B.                    LA
    2486            Bradley                        A.                    CA
    2487               Ans                          I.                   DC
    2488               Gael                        C.                    CA
    2489              Heidi                        C.                    CA
    2491              Brian                        H.                    KY
    2492               Rose                        L.                    MD
    2493              James                        B.                    IN
    2497             Walter                         F.                   CO
    2498               Julie                       C.                    MN
    2499             Patricia                      C.                    DE
    2500              Frank                         F.                   CO
    2501              Kelly                        R.                    CO
    2502            Deborah                         P.                   IL
    2503            Harrison                       G.                    NY
    2504              Devin                        H.                   WA
    2505              Wade                         W.                    MD
    2506              Anna                         D.                   WA
    2507            Terence                        T.                    NY
    2508            Dorothy                        T.                    NY
    2509              Tiana                        C.                    DE
    2510              Cindy                        A.                    TX
    2511              Craig                        H.                    FL
    2512              Justin                       W.                    CA
    2513             Steven                        C.                    FL
    2514              Sarah                        W.                    CA
    2516            Kendall                        M.                    TX
    2517               Eric                         J.                   FL
    2518            Barbara                        G.                    MD
    2519              Judith                       C.                    MD
    2522               Adil                        K.                    NJ
    2523             Siarhei                       H.                    NC
    2524            Timothy                        R.                    WI

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2530              Sing                         Y.                    NY
    2532                Ah                          L.                   NY
    2533             Melissa                       L.                    IA
    2534           Christopher                      L.                   IA
    2535            Nathaniel                       J.                   FL
    2536              Jared                        B.                    FL
    2537             Leslie                        Y.                    FL
    2538               Lin                         Y.                    CO
    2539             David                         H.                    CO
    2540            Francine                        S.                   NJ
    2541              Mary                          S.                   VA
    2542            Norman                         C.                    MI
    2543              Edith                        C.                    MI
    2544              Brian                        W.                    MI
    2545                Jo                         C.                    NC
    2546            Michael                        C.                    NC
    2548              Tong                          Z.                   NY
    2549               Hua                          Z.                   NY
    2551                Ai                          Z.                   NY
    2552             Donald                        B.                    TN
    2553             Ecieno                        C.                    FL
    2554              Yuriy                         T.                   CA
    2555             Yelena                        O.                    CA
    2556           Aleksandr                       O.                    CA
    2557            Kimberly                       G.                    TN
    2558              Reem                         H.                    MA
    2559              Mark                          S.                   VA
    2560             Marcia                        C.                    FL
    2562             Daniel                        C.                    NJ
    2563             Sheila                         S.                   OH
    2564              Brett                         S.                   OH
    2565             Caitlin                       H.                    OR
    2567               Jodi                        C.                    OR
    2568            Matthew                        M.                    NC
    2569             Bettina                       H.                    NC
    2570            Mallory                        C.                    OR
    2573            Bernard                         S.                   IL
    2574              Brian                        G.                    MI

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2575               Jodi                        H.                    CA
    2577            Matthew                        R.                    MI
    2578             Krista                         P.                   CT
    2579              Diana                        L.                    VA
    2580             Stacey                         S.                   VA
    2581            Cortney                         S.                   PA
    2582            Michael                        T.                    PA
    2583             Adam                          R.                    VA
    2584           Dominick                         J.                   FL
    2585             Karen                         V.                    FL
    2586             Rayon                         B.                    NJ
    2587                Di                         W.                    TX
    2588               Xue                         D.                    TX
    2589               John                        R.                    AZ
    2591            Julianne                        P.                  WA
    2592               Beth                        M.                    AZ
    2593             Connie                        D.                    AZ
    2594             Curtis                        B.                    AZ
    2595             Kevin                         C.                    NY
    2596              Jessie                        S.                   TX
    2597              Susan                         S.                   TX
    2598            William                         F.                   CA
    2599             Charles                        F.                   IL
    2603              Todd                          P.                   CT
    2605             Vickie                        B.                    IN
    2606              Laura                        K.                    NJ
    2609              Sarah                        C.                    IL
    2610              Peter                        C.                    IL
    2612            Thomas                         R.                    NV
    2613             Jeffrey                       W.                    LA
    2614            Jyh-Kai                        W.                    LA
    2615           Tong-Chai                       W.                    LA
    2617               Sara                         P.                   UT
    2622             Keenan                         E.                   MD
    2623              Sarah                        A.                    NY
    2626             Robert                        B.                    MA
    2627              Ryan                         D.                    VA
    2630                Ali                        M.                    NY

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2632             Rebecca                       E.                   WA
    2634              Milton                        S.                   FL
    2635               Linda                        S.                   FL
    2636              Roxly                        Z.                    CA
    2637            Stephanie                      B.                    OH
    2638             Thomas                        B.                    OH
    2640             William                        I.                   OH
    2641               Daed                        N.                    NY
    2642             Ammar                         M.                    NY
    2643             Youssef                       M.                    NY
    2644              Bachar                       M.                    NY
    2645             Russell                       M.                    TX
    2647              Angel                        G.                    CA
    2648             Michael                        S.                   OH
    2650              Angel                        H.                    OH
    2653              Briana                       B.                    OH
    2655             Gregory                        F.                   OH
    2656            Thaddeus                       W.                    PA
    2657               Laura                       W.                    PA
    2658               Ruel                         S.                   FL
    2663               Shani                       H.                    OH
    2664             George                        N.                    FL
    2665               Stella                      N.                    FL
    2666            Milagros                       N.                    FL
    2667              Arthur                       N.                    FL
    2670             Meghan                        H.                    VA
    2671               Odis                         I.                   VA
    2672              Hollie                       M.                    GA
    2673             Michael                       M.                    GA
    2674               Ruth                         Z.                   VA
    2676               Gary                        V.                    VA
    2677             Dorothy                        S.                   NC
    2678             Virginia                       F.                   NC
    2680             Jennifer                      C.                    MT
    2681             Audrey                        C.                    MT
    2683              James                         J.                   NY
    2684              Jessica                      B.                    ME
    2686              Kathy                        W.                   WA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2689             Brenda                        W.                    CA
    2690             William                       V.                    GA
    2691             Michael                       M.                    NY
    2692             Donna                          F.                   MN
    2694                Jon                        N.                    FL
    2695            Nicholas                       W.                    CO
    2696            Courtney                       M.                    GA
    2697            Sangeeta                       N.                    DC
    2698                Ivo                        K.                    DC
    2699             Andrea                        M.                    FL
    2700             Robert                        W.                    FL
    2703              Sheryl                       W.                   WA
    2704              Ryan                         R.                   WA
    2707               John                         T.                   NJ
    2708             Michael                       G.                    CA
    2709             Jessica                       B.                    IL
    2710           Christopher                     B.                    IL
    2711             Wendy                         B.                    CO
    2712             Steven                        B.                    CO
    2714             William                       B.                    CA
    2716             Jeffrey                        J.                   IL
    2717             Kameo                         T.                    OH
    2718               Gary                        C.                    IL
    2720              Laura                         J.                   IL
    2722                Jon                        H.                    IL
    2724            Christian                      D.                   WA
    2725              Elana                        K.                    PA
    2727             Lauren                        W.                    OH
    2728             Andrei                        M.                    NY
    2730             Jocelyn                       Y.                   WA
    2731             Joshua                        M.                   WA
    2732              Travis                       H.                    TX
    2734              David                         E.                   TX
    2736            Sebastian                      R.                    CA
    2737             Marilyn                       M.                    SD
    2739             Daniele                        I.                   IL
    2742             Tiffany                        S.                   CA
    2744            Domininc                        P.                   TX

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2745            Treyvion                       H.                    OH
    2747            Howard                          J.                  WA
    2748            Andrew                         C.                    IL
    2749             Diane                          F.                   VA
    2751             Adriel                        A.                    CA
    2753             Tadele                        A.                    CA
    2754            Taiesha                        B.                    NC
    2755             Trudy                          S.                   SD
    2756            Stepehn                        D.                    SD
    2757             Jemor                         B.                    NC
    2759              Stacy                        L.                    MO
    2760            Darlene                         T.                   AL
    2761              John                         C.                    LA
    2763            Eleanor                        M.                    MI
    2764              John                         W.                    RI
    2765            Barbara                         L.                   MO
    2766            Timothy                         L.                   MO
    2767            William                         L.                   MO
    2768             Helen                         H.                    PA
    2769            Colleen                        B.                    PA
    2770             Robert                         F.                   NY
    2771             Ronald                        B.                    PA
    2773            Matthew                        R.                    NY
    2774             Steven                        D.                    CA
    2775            Shahram                        K.                    MI
    2776               Po                          W.                    TX
    2777              Carol                        D.                    OH
    2779           Jacqueline                      G.                    OH
    2781             Robert                         L.                   FL
    2782            Bre'Ona                        H.                    OH
    2783              Paulo                        A.                    AZ
    2784           Alexander                       B.                   WA
    2786             Ashish                         S.                  WA
    2789               Lily                         L.                   CA
    2790            Branden                        B.                    FL
    2791            Nicolette                      B.                    FL
    2792              Carol                        D.                    CO
    2793            Timothy                        D.                    CO

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2794             Nancy                          S.                   MD
    2795            Dorothy                        R.                    IL
    2796          Bakeerathan                      T.                    NY
    2797          Rasakumaran                      M.                    NY
    2798             Joseph                        R.                    IL
    2799             Adam                          C.                    NC
    2801               Lila                        C.                    NC
    2804            Nicholas                        L.                   MD
    2805             Elyssa                        K.                    NY
    2806             Nancy                         K.                    PA
    2807            Douglas                         L.                   CT
    2810             Steven                         J.                   CA
    2811            Gabrielle                      D.                    RI
    2812            Jennifer                        F.                   VA
    2813             Regina                         J.                  WA
    2814            Stephen                        B.                    NY
    2818            Melody                         O.                    GA
    2820              Scott                        G.                    GA
    2822             Becky                         R.                    OH
    2823            Romello                        M.                    AZ
    2824            Randell                        C.                    MO
    2825              Dinae                        C.                    MO
    2827           Cheyanne                        H.                    CO
    2828              Peter                        G.                    SC
    2829            Ranilesh                        P.                   CA
    2830           Aleksandra                       S.                   NC
    2831              Justin                       D.                    NC
    2833               Joan                        W.                    PA
    2834             Joanne                        G.                   WA
    2835              Carol                         S.                   NJ
    2836              Peter                         F.                   MA
    2837             Sandra                        N.                    OH
    2839            William                         L.                   NV
    2840            Douglas                        N.                    CO
    2842             Caron                         H.                    CO
    2843               Alan                        M.                    OR
    2844             Ronald                        W.                    MI
    2845             Vicky                         W.                    MI

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2847            William                        H.                    CT
    2852               Jack                        L.                    VA
    2853            Suzanne                        B.                    LA
    2854              Karen                        M.                    MD
    2855              Mary                         B.                    DC
    2857             Wendy                         Q.                    NY
    2858              Abby                         Q.                    TX
    2859           Alexander                       R.                    CA
    2861             Crystal                       M.                    CA
    2862             Jeremy                        M.                    CA
    2863             Roland                        W.                    OR
    2864              Tanya                        C.                    NJ
    2865            Danielle                       C.                    NJ
    2868            Clarence                       B.                    AZ
    2869             Phyllis                       B.                    NY
    2870               Neil                         J.                   SD
    2872             Jimmie                        B.                    IL
    2873             Poorna                        R.                    CA
    2875            Michael                        N.                    DE
    2880           Muhammad                        D.                    FL
    2881              Keith                         J.                   VA
    2882             Angela                        A.                    VA
    2885              Jemy                         A.                    CA
    2886               Julie                        L.                   PA
    2887            Wallace                         J.                   PA
    2888              David                         L.                   MA
    2890            Douglas                         T.                   NC
    2892              Lynn                         N.                    DE
    2893             Robert                         L.                   CA
    2895            Samone                         H.                    AZ
    2896              Carol                        D.                    MD
    2897             Alexia                        R.                    CA
    2899            Vincent                        G.                    CA
    2900              Keith                        L.                    NC
    2901              Mark                         B.                    NC
    2902            Amanda                         B.                    NC
    2903              Shea                          F.                   TX
    2904              Ryan                         H.                    MD

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2905             Jeanene                       L.                    CA
    2906               Joyce                       G.                    VA
    2907             Destinee                       L.                   AZ
    2909              Bonnie                        P.                   UT
    2910                Dirk                        P.                   UT
    2911              Roger                         S.                   ND
    2912           Shauchenka                      D.                    CA
    2917             Michael                       V.                    NV
    2918              Erlinda                      C.                    NV
    2920             Alafijia                       T.                   MD
    2921               Jason                       M.                    CO
    2923              Harvey                       C.                    NJ
    2924              Joseph                       C.                    NJ
    2925               Joyce                       C.                    NJ
    2926             Jasmine                       B.                    NJ
    2927             Farshid                       B.                    NJ
    2928              David                        C.                    PA
    2930             Terrace                        E.                   CA
    2931               Jared                       H.                    NE
    2932                Sara                       H.                    NE
    2933              Darlla                       B.                    SD
    2934             Sydney                        K.                    NC
    2935              Yajuan                       C.                    CA
    2936             Yolanda                        P.                   SC
    2938                Erik                       O.                    TN
    2939              Pamela                       E.                    MI
    2940               Alice                        J.                   IN
    2942             Kathleen                       Z.                   NJ
    2943              David                        H.                    CA
    2944            Jacqueline                      S.                   IL
    2945               Faisal                      M.                    VA
    2946              Nadya                        M.                    VA
    2947              Megan                         S.                   PA
    2948              Debra                         S.                   PA
    2949              Steven                        S.                   PA
    2951             Herbert                        J.                   NC
    2952               Mark                        R.                    LA
    2953               Carol                       H.                    KS

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JND Identifier     First Name         First Initial of Last Name   State/Province
    2954            Gregory                        H.                    KS
    2955            Hongbo                          T.                   CA
    2960            Kathleen                       G.                    NJ
    2962             Patricia                      B.                    CA
    2963              Krista                       C.                    MD
    2965              David                        C.                    FL
    2966             Sandra                        M.                    GA
    2968            Michael                        H.                    VA
    2970             Kasha                         H.                    VA
    2971               Lois                         S.                   VA
    2972              James                         S.                   VA
    2973            Anthony                         J.                   FL
    2976            Thomas                         C.                    TX
    2978              Mary                         H.                    MN
    2979             Lynne                         H.                    MD
    2980             Mable                         D.                    NC
    2981             Marian                        D.                    NC
    2983            Bartram                        N.                    IL
    2986            Kateryna                        S.                   CA
    2987            Richard                        B.                    MD
    2988             Teresa                        B.                    OK
    2989               Mia                         H.                    PA
    2990             Robert                         F.                   PA
    2991               Beth                        W.                    NY
    2993              Keith                        A.                    HI
    2994             Darren                        V.                    IL
    2995              Sierra                       C.                    TN
    2996           Alexander                       B.                    CO
    2997             Dianne                        C.                    FL
    2998               Eric                        C.                    MD
    3002               Riva                         S.                   NY
    3003             Sophia                        B.                    CA
    3004               John                         P.                   NY
    3005             Sheryl                        H.                    UT
    3007               Eric                        A.                    CA
    3008             Rohan                         W.                    NY
    3009            Rachael                        N.                    NJ
    3010             Lorene                        M.                    FL

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3011             Lauren                         P.                   IL
    3013             Harold                         J.                   PA
    3015            Thomas                         W.                    CT
    3016              Bruce                         T.                   IL
    3017             Gerard                        B.                    IL
    3018             Donna                         B.                    IL
    3020             Martin                        C.                    NY
    3023               Toni                         S.                   WI
    3024           Francesco                        P.                   NJ
    3025             Deena                          J.                   NJ
    3026              David                        W.                    NY
    3027             Kristen                       H.                   WA
    3028            Matthew                        H.                   WA
    3031              Claria                        P.                   VA
    3032            Jonathan                       M.                    VA
    3039             Eltonia                        P.                   TN
    3040             Donald                        D.                    FL
    3049             Rhonda                        H.                    MI
    3050            Kimberly                       R.                    MN
    3052             Megan                         E.                    MI
    3053            Thomas                         B.                    PA
    3057           Hamidreza                       N.                    CA
    3058             Barbara                       M.                    SC
    3059              Elliott                      L.                    MN
    3060            Douglas                         E.                   MI
    3061              Alelie                       R.                    CA
    3062            Stephon                        H.                    TX
    3063             Joanna                        K.                    TX
    3065             Robert                        D.                   WA
    3067              Ingrid                        J.                   CO
    3069              Cathy                        C.                    MA
    3071               Julie                        P.                   OH
    3072               Gary                        C.                    OH
    3073            William                         L.                   MA
    3076               John                         P.                   ME
    3077              Jacob                        D.                    CA
    3079              Diane                        T.                    NY
    3080               Kyle                        W.                    CT

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3081             Daniel                        T.                    CA
    3082             Marika                        W.                    CT
    3083             Donald                        M.                    PA
    3085              Craig                        W.                    CT
    3086              Justin                       M.                    NY
    3087             Clarissa                      M.                    NY
    3090              Ryan                         W.                    MT
    3091             Bobby                         R.                    TX
    3092             Randal                        K.                    MI
    3094             Carmen                        C.                    FL
    3095              Helen                        B.                    VA
    3096            Benjamin                       V.                    MD
    3097               Priti                       B.                    MD
    3099               Julia                        P.                   VA
    3100             Mykola                         S.                   CO
    3101           Lyudmyla                         S.                   CO
    3104           Hyok-Hee                        Y.                    MD
    3105             Daniel                         J.                   NY
    3106              Misty                        B.                    TX
    3107              India                        W.                    MO
    3108             Jeremy                        R.                    NJ
    3109            Christine                      R.                    NJ
    3111            Mehrdad                        N.                    CA
    3113             Roslyn                        B.                    MD
    3117            Michael                        B.                    CO
    3118               Paul                         P.                   TX
    3119            Jeremiah                       V.                    SC
    3121                Ian                        M.                    CA
    3122              Paula                         S.                   IN
    3123              Marc                          S.                   IN
    3126               Nina                        H.                    IN
    3127              Eldon                        H.                    IN
    3128            Andrew                         B.                    CA
    3129            Kathryn                        C.                    CA
    3130             Robert                         S.                   CA
    3131             Masada                        D.                    CA
    3132            Kathleen                       M.                    MA
    3133            Andrew                         G.                    MA

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                          Timely and Valid Exclusions

JND Identifier     First Name         First Initial of Last Name   State/Province
    3134             Sharon                        A.                    CA
    3136             Angela                         P.                   NJ
    3137              David                         P.                   NJ
    3138              Bruce                        B.                    GA
    3139               Mary                        M.                    AR
    3140             Michael                       H.                    CA
    3141               Khoa                        N.                    VA
    3142             Eshagh                        A.                    CA
    3143               Clark                       H.                    IN
    3144             Victoria                      Z.                    MD
    3145             Stephen                       D.                    PA
    3146           Christopher                     N.                    CA
    3150             Sunrise                        L.                   MI
    3151               Elgin                       W.                    TX
    3152              Carole                       W.                    TX
    3153             Barbara                        L.                   FL
    3154              Drake                        B.                    FL
    3157              David                        D.                    NY
    3158              Kevin                        B.                    UT
    3159            Samantha                       M.                    CT
    3160               Kapil                       G.                    NJ
    3162               Mark                        M.                    TX
    3163               Paula                       A.                    WI
    3164             Thomas                        V.                    CA
    3165             Barbara                       R.                    WI
    3166            Jeannette                      A.                    OH
    3167              Arthur                       G.                    MI
    3168              Darvin                        J.                   MD
    3169             Bradley                       M.                    GA
    3171             Jasmine                       W.                    NY
    3172            Franklin                        I.                   OH
    3173           Johnathan                        P.                   FL
    3174             William                        T.                   FL
    3175               Juan                        D.                    FL
    3176              Jeanna                        P.                   FL
    3177               Jose                         P.                   FL
    3178            Jackelyn                        P.                   FL
    3179             Aminta                        C.                    CA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3180             Roman                         C.                    CA
    3183            Amanda                         D.                    CA
    3184             Robert                        G.                    CA
    3186            Barbora                         S.                   CA
    3187              Peter                         F.                   VA
    3188             Alfredo                       R.                    CA
    3189             Cherie                        G.                    VA
    3190            Kenneth                        G.                    VA
    3191              Jerry                        C.                    NY
    3197             James                         M.                    CA
    3198             Olivia                        L.                    CO
    3199            Norman                         L.                    CO
    3200              Gina                         C.                    CA
    3201             Steven                        C.                    CA
    3202             Rohda                         L.                    OH
    3209              Anne                         C.                    PA
    3212            Rogelio                        G.                    MI
    3213             Amber                         T.                    OH
    3214              Emil                          J.                   OH
    3223             Joseph                        H.                    CA
    3224             Byron                         H.                    OR
    3225            Gregory                        K.                    OH
    3227             Regina                         I.                   FL
    3228             Rachel                        C.                    GA
    3229            Fong-Yi                        A.                    CA
    3230             Russell                       E.                    CA
    3232            Jennifer                       M.                    TX
    3233            Jasmine                        E.                    AL
    3234             Joseph                        M.                    MD
    3239             Brenda                        B.                    NJ
    3240            Hiranya                        B.                    NJ
    3241             Sapna                         G.                    NJ
    3242            Elizabeth                      A.                    OR
    3243              Susan                        B.                    GA
    3244             Sherry                         S.                   NC
    3245             Chong                         N.                    VA
    3246              Jason                        A.                    FL
    3247            Tatyana                         T.                  WA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3248               John                        B.                    TX
    3250            Mitchell                        S.                   MD
    3251              Ying                         N.                   WA
    3253             Martin                         Z.                   PA
    3254              Jamie                         Z.                   PA
    3255             Gerald                         I.                   CA
    3256             David                         R.                    CA
    3257               Lisa                         F.                   CA
    3258               Jana                        H.                    MN
    3260           Nathanael                       H.                    MN
    3262            Edward                         D.                    MD
    3263              Carol                        D.                    MD
    3264             Stefan                         F.                   MO
    3265             Denise                         F.                   MO
    3266             Justine                       B.                    NY
    3268            Barbara                        C.                    NY
    3271            Thomas                         G.                    IN
    3274             Jayesh                        B.                    OH
    3276              Mary                         G.                    NY
    3280              Jayde                        D.                    MD
    3281           Hans-Snith                      A.                    FL
    3282            Charlene                        P.                   MA
    3284            Thomas                         C.                    IL
    3285             Russell                       B.                    CA
    3286               Ann                          P.                   FL
    3287             Donna                         R.                    FL
    3288            Gregory                        R.                    FL
    3289               Roja                         E.                   PA
    3290             Dylan                         B.                    PA
    3292             Dadfar                        B.                    CA
    3294             Agnes                          T.                   VA
    3295            Amanda                         T.                    OH
    3296            Rogelio                        B.                    NY
    3297            Amanda                         C.                    MO
    3298            Stephen                        K.                    CA
    3300              Yury                         R.                    CA
    3302            Gregory                         Z.                   MA
    3303             James                          S.                  WA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3304            Kenyion                         S.                   NJ
    3305               John                        M.                    PA
    3306              Roger                         S.                   PA
    3308             Joseph                         S.                   MI
    3309              Jacob                         S.                   MI
    3311                Jill                       B.                    MA
    3312              Barry                        B.                    MA
    3314              Lucas                        L.                    OK
    3315              Roger                         S.                   NY
    3316              Perry                         P.
    3317             Thomai                        H.
    3318              Evan                          S.                  NY
    3319            Michelle                       T.                   FL
    3320              Larry                        G.                   SC
    3321              James                         F.                  TN
    3322             Mikael                        H.                   CA
    3324             Robert                        N.                   MD
    3325             Janice                         S.                  MD
    3326           Jeanmarie                       D.                   NY
    3327            Lawrence                        L.                  NY
    3329              Larry                        A.                   TN
    3331              Misty                        D.                   TN
    3333              Darla                        A.                   TN
    3335              Gavin                        M.                   MA
    3339            Sharareh                        S.                  OR
    3340            Shohreh                         S.                  CA
    3342             Kristy                        K.                   PA
    3343             Michael                       K.                   PA
    3345              James                         S.                  GA
    3348               Joan                        A.                   CA
    3349             Everett                       A.                   CA
    3355             Jarrett                        P.                  VA
    3357            Douglas                         E.                  IN
    3358              Diane                        E.                   IN
    3359              Breya                         L.                  AR
    3360               Kent                        Y.                   IN
    3361             Melissa                       X.                   CA
    3363             Kyron                         R.                   DE

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3364               Brett                       W.                    CO
    3365             Christy                        F.                   VA
    3366             Ryleigh                        L.                   VA
    3367            Katherine                      M.                    MN
    3368             Richard                       M.                    MN
    3370             Helaine                       D.                    NJ
    3371            Nicholas                       D.                    NJ
    3372               Paul                        D.                    NJ
    3375               Neil                         S.                   CA
    3376            Melanie                        D.                    UT
    3377              Bryan                        D.                    UT
    3378              Julius                        S.                   CA
    3379           Samanatha                       R.                    PA
    3380              Grant                        B.                    IA
    3381             Richard                        S.                   NC
    3382              Brian                         S.                   MD
    3383             Alison                         S.                   MD
    3384               Beth                        W.                    PA
    3386             Stacey                        D.                    PA
    3388              James                        R.                    CO
    3389             Damien                        C.                    CO
    3391             Samuel                        B.                    VA
    3392             Samuel                         F.                   VA
    3393            Shahryar                       G.                    NY
    3395            Jennifer                       N.                    UT
    3396            Garrison                       D.                    NY
    3398             Arnold                        G.                    TX
    3400             Richard                       R.                    MI
    3401               Erin                        C.                    IN
    3402               Erik                        C.                    IN
    3403              Linda                        C.                    IN
    3404            Howard                         C.                    IN
    3407               Amy                         M.                    PA
    3408            William                         J.                   OH
    3409             Donna                         W.                    FL
    3410            William                        W.                    FL
    3411               Dirk                         Z.                   MA
    3412              Drew                         N.                    LA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3413             Farouk                        R.                    NC
    3415              Sarah                         S.                   FL
    3416             Daniel                        H.                    FL
    3417            Timothy                        G.                    MI
    3418              Paula                        G.                    MI
    3419               Ian                         G.                    MI
    3420            Latrisha                       D.                    MD
    3423              Vicki                         S.                   VA
    3424             Staffus                       H.                    MI
    3426            Jennifer                        S.                   NY
    3427            Keteisha                        S.                   OH
    3429              Merry                        H.                    GA
    3430            Wojciech                       D.                    NJ
    3431              Edyta                        D.                    NJ
    3433             Cynthia                       K.                    OR
    3435              Yanet                        R.                    NJ
    3437           Christopher                      F.                  WA
    3438              Curtis                       W.                    OR
    3439               Lori                         S.                   CA
    3440             Mayme                          S.                   OR
    3441              Adam                         C.                    OR
    3442            Jennifer                        S.                   OR
    3443              Donte                        M.                   WA
    3444             Denise                         P.                   IN
    3446              David                        W.                    VA
    3448             Robert                        B.                    NH
    3449              Bruce                         P.                   CO
    3450              Janet                        E.                    CO
    3451             Rachel                        H.                    IL
    3452            Matthew                        B.                    WI
    3453              Ellen                        B.                    WI
    3454             Masun                          T.                   CO
    3457               Ian                         W.                    CA
    3458              Harry                        C.                    MI
    3459            Catherine                       T.                   IL
    3460             Stacey                        W.                    OR
    3461           Christopher                     C.                    OR
    3463            Terrance                       M.                    VA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3467                Jie                        R.                    MA
    3468             Deqing                         S.                   MA
    3469               Erik                        B.                    GA
    3470              Brian                        R.                    CA
    3471             Krishan                        J.                   TX
    3474            Michael                        L.                    MA
    3475              Cory                         B.                    CA
    3476             Walter                        K.                    LA
    3477              Emily                        B.                    GA
    3479            William                         J.                   CA
    3480              Ryan                         B.                    CA
    3481             Lamar                         A.                    CA
    3482              Colin                        M.                    CA
    3483             Candy                         A.                    TX
    3484               Paul                        A.                    TX
    3485             Richard                        S.                   PA
    3486              Latica                       T.                    NY
    3487              John                         K.                    PA
    3488              Gayle                        N.                    CO
    3489            Michael                        G.                    TX
    3491            Ekaterina                      C.                    NV
    3492              Alan                         C.                    NV
    3493             Kellean                       G.                   WA
    3494            Thomas                         A.                   WA
    3496             Lauren                        M.                    GA
    3497            Michael                        G.                    CA
    3498              Edith                        M.                    NY
    3499               Jon                          T.                   NY
    3500            Maryann                        C.                    WI
    3501            Thomas                         C.                    WI
    3502             Nicolas                       C.                    WI
    3504            Timothy                        C.                    IL
    3505             Sandra                        L.                    MA
    3506            Benjamin                       H.                    MA
    3507            Kenneth                         I.                   {A
    3508              John                          S.                   NJ
    3509            Matthew                        H.                    MA
    3510             Nathan                        D.                    IL

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3511             Daniel                        G.                    CA
    3513              Ralph                        M.                    TX
    3514              Mary                         A.                    OH
    3515             Patrick                       B.                    OH
    3516             Scarlett                      K.                    PA
    3517              Susan                        M.                    NY
    3519             Leticia                        S.                   CA
    3520              John                         M.                    OK
    3521            Andrew                         T.                   WA
    3523              Brian                         S.                   FL
    3524            Julianne                        J.                   NY
    3525            Mikhael                         S.                   DC
    3527           Frederique                       S.                   MA
    3529            Elizabeth                       P.                   VA
    3531            Michael                         P.                   VA
    3532              Sean                         N.                    MO
    3533             George                         I.                   DC
    3537             Andrea                         S.                   OH
    3539            Stefanie                       B.                    VA
    3540             Joseph                        B.                    VA
    3541             Debora                         J.                   NV
    3542             Kansas                        C.                    GA
    3544            Yesenia                         P.                   TX
    3545              Sarah                        W.                    MD
    3547            Michelle                       H.                    IN
    3548             Jeffrey                       H.                    IN
    3549            Michael                         S.                   MI
    3551            Cynthia                         S.                   GA
    3552             Monika                        D.                    IL
    3555              Mihai                        C.                    OR
    3556              John                          T.                   CA
    3557              David                        H.                    GA
    3558             Randel                        D.                    VA
    3559            Fatmata                        B.                    TN
    3560               Kin                         K.                    NY
    3561              Yukti                        A.                    NY
    3563               Paul                        T.                    NJ
    3564              Brian                         T.                   wa

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3565             Jeffrey                       N.                   WY
    3566          Chidambaram                      K.                    GA
    3567             Joshua                        B.                    GA
    3569           Alexandria                       P.                   CA
    3571             Donald                        M.                    IN
    3572            Carolann                       V.                    NY
    3573            Veronica                       V.                    NY
    3574             Samuel                        M.                    NJ
    3580             Adam                          K.                    CA
    3581            Michelle                       N.                    CO
    3583             Karen                          T.                   VA
    3586           Tarchiauna                      T.                    VA
    3587             Katrina                       H.                    CA
    3588             Darrell                        T.                   VA
    3590             Marcus                         J.                   VA
    3591              Isaac                        M.                    IL
    3592             Theron                        M.                    CA
    3593              Kelly                        M.                    CA
    3597            Michael                        H.                    CA
    3598            Tryphina                       H.                    CA
    3599             Donnie                        H.                    NM
    3600             Steven                         J.                   NY
    3601             Kevin                          L.                   CA
    3602              Elisa                        A.                    CA
    3603              Miles                        G.                   WA
    3607             Chase                         H.                    MO
    3609              Conie                         L.                   FL
    3612             Keenen                        W.                    CA
    3613               Yen                          T.                   CA
    3621             Aaron                         C.                    IN
    3622            Thomas                         C.                    IN
    3623            Michael                        M.                    IN
    3624              Jane                         M.                    IN
    3625             Debra                         C.                    IN
    3626             Wayne                          S.                   IN
    3627            Marilyn                         S.                   IN
    3628              Craig                        M.                    VA
    3630             Liliana                       W.                    GA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3632             Gabriel                       A.                    GA
    3633              John                          I.                   CA
    3635            Richard                         S.                   NC
    3636            Clarissa                        S.                   NC
    3637              Anna                          L.                   NY
    3640              Ross                         A.                    MN
    3641            Gregory                        H.                    MD
    3642            Michael                        Z.                    MT
    3643              Traci                         Z.                   MT
    3644            Michael                         F.                   CA
    3647             Andres                        C.                    NJ
    3649              Sunit                        K.                    GA
    3650               Paul                         I.                   FL
    3651              Kevin                        H.                    UT
    3652            Jennifer                       C.                    CA
    3653               Sara                        B.                    MD
    3654            Rhonda                         K.                    CA
    3657             Clinton                       L.                    NC
    3660             Daniel                        D.                    WI
    3661             Kaylin                        B.                    WI
    3662            Cynthia                        D.                    WI
    3665              Brock                         P.                   CA
    3666              Daren                        K.                    ID
    3667              Alice                         P.                   TX
    3668             Dewitt                         P.                   TX
    3670             Ripam                          S.                   IN
    3671            Timothy                         T.                   FL
    3672            Zachary                        G.                    MN
    3676             Tracie                        W.                    KY
    3678             Patricia                      N.                    WI
    3682            Michael                         J.                   CA
    3683              Alicia                       B.                    CA
    3684            Gabriela                       H.                    CA
    3689            Mitcheel                       R.                    VT
    3690              Ezra                         G.                    MD
    3692              Emily                        K.                    VA
    3693              Emily                        H.                    MD
    3695             Neilye                        G.                    MD

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3696             Robert                        A.                    OH
    3697             Natalie                       K.                    VT
    3698             Regina                         J.                   NJ
    3699              Mary                         E.                    NV
    3700              Lora                         W.                    CO
    3703              Bruce                         J.                   CA
    3706            Asawari                        K.                    IN
    3708            Matthew                        H.                    PA
    3710             Juanita                        T.                   TN
    3713              Mark                          S.                   CA
    3714             Lowell                        D.                    MA
    3715             Allison                       A.                    CA
    3718              Philip                       A.                    CA
    3720            Ricardo                        V.                    MA
    3721            Margaret                       D.                    MA
    3722             Tamsen                        W.                    PA
    3723            Elisabeth                      G.                    NY
    3724            Christina                      R.                    PA
    3727            Marilyn                        M.                    TN
    3730            Matthew                        W.                    AR
    3731            Elizabeth                      H.                    CA
    3732             Joseph                        W.                    CA
    3733             Vianca                        B.                    MA
    3735            Anthony                        D.                    MA
    3737             Charles                        S.                   CA
    3739              Rena                         C.                    TX
    3742            Barbara                         L.                   TX
    3743             Jeremy                        H.                    GA
    3744            Mitchell                        S.                   CA
    3745              Adam                         R.                    CA
    3747            Victoria                        P.                   FL
    3748             Sarabjit                       S.                   NC
    3751           Jon-David                       H.                    UT
    3753            Michael                        T.                    CA
    3762              Noor                         A.                    MO
    3763           Mohammed                         S.                   MO
    3764            Kiersten                        S.                   GA
    3765            Gerardo                        B.                    GA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3766            Cristhian                      H.                    GA
    3767            Gamaliel                       G.                    GA
    3768              Lygia                         S.                   GA
    3769            Rosmery                        A.                    GA
    3770             Erenia                        C.                    GA
    3771              Alan                          S.                   GA
    3773            Deborah                        D.                    MD
    3774             Vatche                         T.                   CA
    3776            Matthew                        T.                    CA
    3777              Zonel                         P.                   CA
    3778              Diana                        O.                    CA
    3783              Edvin                        H.                    CA
    3785             Chokri                        B.                    CA
    3786            Victoria                       A.                    CA
    3787            Fernando                       A.                    CA
    3788              Garo                         A.                    CA
    3789              Cindy                        A.                    CA
    3790            Myeshia                        A.                    CA
    3791             Alonzo                        A.                    VA
    3792             Tanisha                        F.                   VA
    3794             Deanna                         F.                   TX
    3795             Randy                         B.                    UT
    3796             Qiaona                        W.                    NY
    3797              Tony                         Y.                    NY
    3798            Mitchell                       M.                    VA
    3799            Roderick                       D.                    VA
    3800             Jeremy                        D.                    VA
    3801           John-Paul                       R.                    VA
    3805              Faten                        A.                    CA
    3806               Rita                        N.                    NY
    3807             Adeteju                       O.                    NJ
    3808              Femi                         A.                    NJ
    3810              Osita                        N.                    NJ
    3811           Afamefula                       O.                    NJ
    3812             Ogechi                        A.                    NJ
    3814              Brett                         L.                   MO
    3815             Robert                        M.                    MO
    3816              Laura                        N.                    CA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3818              Molly                        W.                    IN
    3819              Anna                         B.                    IN
    3822              Paul                         L.                    PA
    3833            Brandon                        B.                    FL
    3834               Lisa                        B.                    FL
    3836            Matthew                         S.                   PA
    3838             Shanni                         S.                   PA
    3841              Karen                         L.                   PA
    3848              Laura                        N.                    IN
    3849              Anish                        N.                    IN
    3857             Hernan                        A.                    GA
    3860             Tressie                       R.                    GA
    3862             Edward                        A.                    CA
    3863              Diane                        M.                    NC
    3866             Cecilia                       A.                    GA
    3869            Amanda                         H.                    FL
    3870              Grey                         G.                    FL
    3878              Chau                          P.                   PA
    3880              Hana                         D.                    PA
    3883               Zef                          S.                   PA
    3884             Andrej                         S.                   PA
    3885               Pat                          Z.                   FL
    3889              Hong                          P.                   PA
    3891              Anna                         D.                    OH
    3893             William                       M.                    PA
    3894            Frederick                      B.                    PA
    3899              Keith                        D.                    OH
    3900             Michael                        S.                   PA
    3902             Richard                       W.                    PA
    3908             Ashley                        L.                    PA
    3909             Travis                        M.                    PA
    3910              Anita                        M.                    PA
    3911             Alvery                        N.                    PA
    3914            Wojciech                       G.                    CA
    3916             Brianna                       B.                    PA
    3920             Oliver                         F.                   NY
    3921             Sherrie                       U.                    NY
    3922              April                        M.                    GA

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3925             Samuel                        G.                    GA
    3927             Ronald                        G.                    NY
    3928               Gayle                       G.                    NY
    3930              Dustin                        S.                   NY
    3931              Abbie                        C.                    MN
    3932            Clarence                        S.                   GA
    3934              Sayed                        B.                    CA
    3936           Midgladis                       G.                    GA
    3937              Joseph                        J.                   GA
    3938           Alexandra                        S.                   GA
    3939                Ana                         L.                   GA
    3940              Raquel                       K.                    GA
    3941              Adrian                       B.                    GA
    3942             Jennifer                       S.                   PA
    3946               Todd                        H.                    SC
    3947            Elizabeth                      M.                    SC
    3952              Emily                        W.                    SC
    3954             Charles                       W.                    SC
    3955             Clifford                       E.                   NY
    3956             Stephen                        S.                   NY
    3958               Reya                         J.                   UT
    3959             Samuel                         L.                   CA
    3962              Steven                       N.                    CA
    3964               Cathy                       K.                    MN
    3965               Bruce                       K.                    MN
    3966            Angelica                        P.                   TX
    3967              Justine                       P.                   TX
    3971           Alexandra                       G.                    NY
    3978               Jacob                       C.                    TX
    3979            Michael                        C.                    TX
    3980             Patricia                      C.                    TX
    3981            Anthony                        C.                    FL
    3983           Alexander                       C.                    GA
    3984            Carmelita                       J.                   IL
    3986              Payam                        T.                    CA
    3987             Georgia                       L.                    VA
    3989            Donovan                        W.                    GA
    3995              Shelby                       K.                    NM

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JND Identifier     First Name         First Initial of Last Name   State/Province
    3999               Juby                        R.                    CA
    4001               Sean                        G.                    FL
    4002              Janice                       H.                    OK
    4008              Cheryl                       W.                    NC
    4010            Ynohtan                        H.                    IL
    4013              Khang                        D.                    GA
    4014               Gina                        R.                    IL
    4015              Diana                        A.                    FL
    4025              Mark                         W.                    IA
    4028               Carl                         S.                   OR
    4031                Yu                          L.                   CA
    4032              James                         J.                   VA
    4033             Beverly                       G.                    NY
    4035              Sarah                         J.                   TX
    4036          Beverly-Olney                    L.                    NY
    4044              Felicia                       P.                   GA
    4048             Zarinah                       N.                    AZ
    4051             Crystal                        L.                   FL
    4053             Thomas                        D.                    VA
    4054              Nancy                        H.                    VA
    4055             Jennifer                      D.                    VA
    4058             Dulcey                        D.                    NM
    4060               John                        N.                    WI
    4065              David                        H.                    FL
    4066              Barry                        R.                    VA
    4070            Caroline                       B.                    CA
    4073              Murat                        A.                    CA
    4075               Paul                        Y.                    PA
    4077           Mashaweta                       B.                    MI
    4093              Robert                       A.                    CA
    4097               Rena                        C.                    AZ
    4098             Faheem                         J.                   IL
    8866              Travis                       H.                    TX
    1124             Lajuana                       M.                    TX




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